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 8

 9                    UNITED STATES DISTRICT COURT FOR
                    THE NORTHERN DISTRICT OF CALIFORNIA
10                         SAN FRANCISCO DIVISION

11
     PATRICK KALLAUS, Derivatively on
12   Behalf of HAWAIIAN ELECTRIC      Case No.:
     INDUSTRIES, INC.                 (Other Civil Action)
13   AND HAWAIIAN ELECTRIC
     COMPANY, INC,
14

15                   Plaintiff,            VERIFIED SHARHOLDER
                                           DERIVATIVE COMPLAINT
16          v.
17   TIMOTHY E. JOHNS, JAMES A.            DEMAND FOR JURY TRIAL
18
     AJELLO, SCOTT W. H. SEU,
     THOMAS B. FARGO, CELESTE A.
19   CONNORS, ELISIA K. FLORES,
     PEGGY Y. FOWLER, MICAH A.
20   KANE, YOKO OTANI, RICHARD J.
     DAHL, KEITH P. RUSSELL,
21   MICHAEL J. KENNEDY, WILLIAM
22   JAMES SCILACCI, JR., MARY E.
     KIPP, ALANA K. PAKKALA,
23   TOBY B. TANIGUCHI, KEVIN M.
     BURKE, EVA T. ZLOTNICKA,
24   MARY G. POWELL, CONSTANCE
25
     H. LAU, PAUL K. ITO, GREGORY
     C. HAZELTON, SHELEE M. T.
26   KIMURA, and TANYE S. Y.
     SEKIMURA,
27

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 1
                      Defendants,
 2

 3   and,
 4   HAWAIIAN ELECTRIC
     INDUSTRIES, INC.
 5   AND HAWAIIAN ELECTRIC
 6   COMPANY, INC.

 7                 Nominal Defendant.
 8

 9          Plaintiff Patrick Kallaus (“Plaintiff”), by and through his undersigned counsel,
10 derivatively on behalf of Hawaiian Electric Industries, Inc. (“Hawaiian Electric” or

11 the “Company”), submits this Verified Shareholder Derivative Complaint (the

12 “Complaint”). Plaintiff’s allegations are based upon his personal knowledge as to

13 himself and his own acts, and upon information and belief, developed from the

14 investigation and analysis by Plaintiff’s counsel, including a review of publicly

15 available information, including filings by the Company with the U.S. Securities and

16 Exchange Commission (“SEC”), press releases, news reports, analyst reports,

17 investor conference transcripts, publicly available filings in lawsuits, and matters of

18 public record.

19                               NATURE OF THE ACTION
20          1.    This is a shareholder derivative action brought in the right, and for the
21 benefit, of the Company against certain of its officers and directors seeking to

22 remedy Defendants’ violations of state and federal law that have occurred from

23 February 28, 2019 through August 16, 2023 (the “Relevant Period”) and have caused

24 substantial harm to the Company.

25                                     JURISDICTION
26          2.    This Court also has jurisdiction over the subject matter of this action
27 pursuant to 28 U.S.C. § 1331 as the claims asserted herein arise under Sections 10(b),

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 1 21D, and 14(a) of the Securities Exchange Act of 1934. This Court also has

 2 jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367(a).

 3        3.     This Court has jurisdiction over each defendant named herein because
 4 each defendant is either a corporation that conducts business in and maintains

 5 operations in this District or is an individual who has sufficient minimum contacts

 6 with this District to render the exercise of jurisdiction by the courts of this District

 7 permissible under traditional notions of fair play and substantial justice.

 8        4.     Venue is proper in this Court because: (a) the Company maintains its
 9 principal place of business in this District; (b) one or more of the defendants either

10 resides in or maintains executive offices in this District; (c) a substantial portion of

11 the transactions and wrongs complained of herein, including Defendants’ primary

12 participation in the wrongful acts detailed herein and aiding and abetting and

13 conspiracy in violation of fiduciary duties owed to the Company, occurred in this

14 District; and (d) Defendants have received substantial compensation in this District

15 by doing business here and engaging in numerous activities that had an effect in this

16 District.

17                                        THE PARTIES
18 Plaintiff

19        5.     Plaintiff Patrick Kallaus is, and was at relevant times, a shareholder of
20 the Company.      Plaintiff will fairly and adequately represent the interests of the
21 shareholders in enforcing the rights of the corporation.

22 Nominal Defendant

23        6.     Nominal Defendants Hawaiian Electric Industries, Inc. and Hawaiian
24 Electric Company, Inc. are Hawaii corporations sharing some of the same directors

25 and officers and a corporate headquarters at 1001 Bishop Street, Suite 2900,

26 Honolulu, Hawaii 96813. Hawaiian Electric Industries (“HEI”) is a holding company

27 that conducts its business through its wholly owned subsidiary, Hawaiian Electric

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 1 Company (“HECO”), a public utility.             Both Hawaiian Electric Industries and
 2 Hawaiian Electric Company will be referred to as “Hawaiian Electric” or the

 3 “Company,” except where distinction is necessary.

 4 Director Defendants

 5        7.     Defendant Timothy E. Johns (“Johns”) is and has been at all relevant
 6 times a Director of the Company and Chairman of its Board of Directors (the

 7 “Board”).    The Company’s website states that Defendant Johns has: “[c]orporate
 8 governance knowledge and familiarity with financial oversight and fiduciary

 9 responsibilities from overseeing the HMSA Internal Audit department, from his prior

10 service as a director for The Gas Company LLC (now Hawaii Gas) and his current

11 service as a trustee of the Parker Ranch Foundation Trust (charitable trust with assets

12 valued at over $350 million), as a director and Audit Committee Chair for Parker

13 Ranch, Inc. (largest ranch in Hawaii, with significant real estate assets), as a director

14 and Audit Committee member for Grove Farm Company, Inc. (privately-held

15 community and real estate development firm operating on the island of Kauai) and on

16 the board of Kualoa Ranch, Inc.”

17        8.     Defendant James A. Ajello (“Ajello”) is and has been at all relevant
18 times a Director of the Company and member of its Board’s Audit and Risk

19 Committee, having joined the Company in 2020.

20        9.     Defendant Scott W. H. Seu (“Seu”) has served as the Company’s
21 President, Chief Executive Officer (“CEO”), and Director since January 2022.

22 Defendant Seu also served in several leadership positions at the Company for almost

23 three decades, including serving as (i) President and CEO of the Company from

24 February 2020 to December 2021; (ii) Senior Vice President, Public Affairs, of the

25 Company from January 2017 – February 2020; (iii) Vice President, System

26 Operation, of the Company from May 2014 – December 2016); (iv) Vice President,

27 Energy Resources and Operations, of the Company from January 2013 – April 2014;

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 1 and (v) Vice President, Energy Resources, of the Company from August 2010 –

 2 December 2012. As an expert in risk management and executive with decades of

 3 experience running the Company, Defendant Seu was aware of the risks posed to the

 4 Company due to potential wildfires and had a duty to address and mitigate such risks.

 5        10.   Defendant Thomas B. Fargo (“Fargo”) has served as a Director of the
 6 Company since 2005. Defendant Fargo serves and has served at all relevant times as

 7 Chairman of the Board and Chairman of the Executive Committee of the Company,

 8 as well as a member of the Board’s Compensation & Human Capital Management

 9 Committee and the Board’s Nominating and Corporate Governance Committee.

10 Defendant Fargo also served as a Director of the Company from 2005 to 2016.

11        11.   Defendant Celeste A. Connors (“Connors”) has served as a director of
12 the Company since 2019. Defendant Connors also serves as a member of the Audit

13 & Risk Committee.

14        12.   Defendant Elisia K. Flores (“Flores”) has served as a director of the
15 Company since 2021. Defendant Flores also serves as a member of the Audit & Risk

16 Committee.

17        13.   Defendant Peggy Y. Fowler (“Fowler”) has served as a director of the
18 Company since 2019. Defendant Fowler served at all relevant times as a member of

19 the Executive Committee, as well as a member of the Board’s Compensation &

20 Human Capital Management Committee and the Board’s Nominating and Corporate

21 Governance Committee.      Defendant Fowler also served as a Director from 2009 to
22 2016. Defendant Fowler also previously served in executive roles for nearly four

23 decades at Portland General Electric, including as President and CEO of the utility.

24 As a result of all this experience, Defendant Fowler was well aware of the risks of

25 wildfires and the need to adopt and implement a power shutoff system to avoid such

26 wildfires.

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 1        14.    Defendant Micah A. Kane (“Kane”) has served as a Director of the
 2 Company since 2019. Defendant Kane also serves as a member of the Compensation

 3 & Human Capital Management and Nominating & Corporate Governance

 4 Committees.

 5        15.    Defendant Yoko Otani (“Otani”) is and has been a Director of the
 6 Company and member of the Board’s Audit and Risk Committee since January 1,

 7 2023. The Company represents in its Proxy Statement that: “At the height of the

 8 financial crisis in 2008-2009 and thereafter with regulatory reforms in the financial

 9 services sector, Ms. Otani advised some of the most prestigious national and

10 international financial services companies on multiple aspects of risk, compliance,

11 business strategy and corporate governance in her role as managing director at a

12 global financial consulting firm.” As an expert in risk management and member of

13 the Company’s Audit and Risk Committee, Defendant Otani was aware of the

14 material risks posed to the Company due to potential wildfires and had a duty to

15 address and mitigate such risks.

16        16.    Defendant Richard J. Dahl (“Dahl”) is and has been a Director since
17 2017. Defendant Dahl served at all relevant times as a member of the Executive

18 Committee, as well as a member of the Board’s Compensation & Human Capital

19 Management Committee and the Board’s Audit and Risk Committee.                   The
20 Company’s Proxy Statement dated March 24, 2023 stated that Defendant Dahl is an

21 expert on risk management: “He is an audit, risk management and financial expert

22 from his former chairmanship of the IDACORP, Inc. audit committee, membership

23 on the Dine Brands Global, Inc. audit committee, previous work experience with

24 accounting firm Ernst & Young, and prior licensure as a Certified Public Accountant

25 and Certified Bank Auditor.”       Defendant Dahl also served as Director of the
26 Company from 2017-2019.

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 1        17.    Defendant Keith P. Russell (“Russell”) was a Director of the Company
 2 during the relevant time period, including from at least 2011 to 2023.

 3        18.    Defendant Michael J. Kennedy (“Kennedy”) is and has been a Director
 4 of the Company since August 1, 2022.

 5        19.    Defendant William James Scilacci, Jr. (“Scilacci”) is and has been a
 6 Director of the Company since 2019. Defendant Scilacci served at all relevant times

 7 as a member of the Executive Committee, as well as a member of the Board’s Audit

 8 and Risk Committee. The Company’s March 24, 2023 Proxy Statement promotes

 9 that Defendant Scilacci has extensive utility experience through his over twenty years

10 in financial management with Southern California Edison, the primary energy supply

11 company for Southern California. The Proxy Statement states that “Mr. Scilacci has

12 a keen understanding and extensive knowledge of enterprise risk management from

13 his role as Chief Financial Officer of Edison International.      For eight years, Mr.
14 Scilacci managed Edison International’s enterprise risk management program

15 identifying, monitoring, and forecasting new risks to the company including ESG

16 related risks such as the impacts of climate change.” Thus, Defendant Scilacci was

17 aware of the material risks posed to the Company due to potential wildfires and had a

18 duty to address and mitigate such risks. Defendant Scilacci is a citizen of California.

19        20.    Defendant Thomas B. Fargo (“Fargo”) is and has been a Director of
20 the Company since 2005. Defendant Fargo also serves and has served at all relevant

21 times as Chairman of the Board and Chairman of the Executive Committee of the

22 Company, as well as a member of the Board’s Compensation & Human Capital

23 Management Committee and the Board’s Nominating and Corporate Governance

24 Committee.

25        21.    Defendant Mary E. Kipp (“Kipp”) is and has been at all relevant times a
26 Director of the Company and member of its Board’s Audit and Risk Committee.

27 Defendant Kipp has also served as President and Chief Executive Officer, Puget

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 1 Sound Energy, Inc., since January 2020. Previously, Defendant Kipp worked at El

 2 Paso Electric Company (NYSE: EE), President 2014-2015, Chief Executive Officer

 3 2015-2017, President and Chief Executive Officer 2017-2019.

 4         22.   Defendant Alana K. Pakkala (“Pakkala”) is and has been at all relevant
 5 times a Director of the Company and member of its Board’s Audit and Risk

 6 Committee, having joined the Company in 2020.

 7         23.   Defendant Toby B. Taniguchi (“Taniguchi”) is and has been at all
 8 relevant times a Director of the Company and member of its Board’s Audit and Risk

 9 Committee, having joined the Company in 2021.

10         24.   Defendant Kevin M. Burke (“Burke”) was a Company director from
11 2018 through to 2023. Defendant Burke also served on the Company’s Audit & Risk

12 Committee during the Relevant Period.

13         25.   Defendant Eva T. Zlotnicka (“Zlotnicka”) was a Company director
14 from 2020 through to 2021.

15         26.   Defendant Mary G. Powell (“Powell”) was a Company director from
16 2019 through to 2021.

17         27.   The above-named defendants at ¶¶ 7–26 are sometimes referred to
18 herein collectively as the “Director Defendants.”

19 Officer Defendants

20         28.   Defendant Constance H. Lau (“Lau”) served as the Company’s
21 President and Chief Executive Officer (“CEO”) from prior to the start of the Relevant

22 Period until January 2022.

23         29.   Defendant Paul K. Ito (“Ito”) served as the Company’s Interim Chief
24 Financial Officer (“CFO”) from July 2022 until January 2023, and has served as the

25 Company’s Executive Vice President, (“EVP”) Treasurer, and CFO since January

26 2023.

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 1        30.   Defendant Gregory C. Hazelton (“Hazelton”) served as the Company’s
 2 Vice President (“VP”), CFO, and Treasurer from prior to the start of the Relevant

 3 Period until July 2022.

 4        31.   Defendant Shelee M. T. Kimura (“Kimura”) has served as the President
 5 and CEO of Hawaiian Electric Company since January 2022, having previously

 6 served in other senior roles within the Company for years prior to that, since 2004.

 7        32.   Defendant Tanye S. Y. Sekimura (“Sekimura”) was the Senior Vice
 8 President (“SVP”) and CFO of the Company up until her retirement on October 1,

 9 2023, after serving the Company for 32 years.

10        33.   The above-named defendants at ¶¶ 28–32 are referred to herein
11 collectively as the “Officer Defendants”.

12        34.   The Director Defendants and the Officer Defendants are referred to
13 herein as the “Individual Defendants”.

14        35.   The Company and the Individual Defendants are collectively referred to
15 herein as “Defendants.”

16                                          FACTS
17 Background

18        36.   Hawaiian Electric, together with its subsidiaries, engages in the electric
19 utility, banking, and non-regulated renewable/sustainable infrastructure investment

20 businesses in the state of Hawaii.       The Company provides service to 95% of
21 Hawaiian residents and operates in three segments, including the Electric Utility

22 segment, which engages in the production, purchase, transmission, distribution, and

23 sale of electricity in the islands of Oahu, Hawaii, Maui, Lanai, and Molokai.

24        37.   Hawaiian Electric holds itself out as striving “to be one of the most
25 progressive and highest performing companies in the world, serving the energy needs

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 1 of each person in Hawaii with purpose, compassion, empathy, and aloha for our

 2 fellow humans and our natural environment.” 1

 3           38.   As a utility service based in and serving the citizens of Hawaii,
 4 Hawaiian Electric, Inc. is subject to oversight from both federal and state regulators,

 5 including by the Hawaii Public Utilities Commission (“PUC”).                  Accordingly,
 6 pursuant to section 8.2 of its General Orders No. 7, the PUC requires that Hawaiian

 7 Electric, Inc. “exercise reasonable care to reduce the hazards to which its employees,

 8 its customers, and the general public may be subjected.” A failure to conform to or

 9 comply with this requirement “shall be subject to a civil penalty not to exceed

10 $25,000 for each day such violation, neglect, or failure continues.” Haw. Rev. Stat. §

11 269-28(a). As such, compliance with the PUC’s order is imperative for Hawaiian

12 Electric, Inc. as failure to do so could lead to significant penalties.

13           39.   For an electric utility company, it is essential that their transmission and
14 distribution (“T&D”) components – the transmission lines, substations, distribution

15 lines, and transformers which make up the Electricity Delivery Network in the

16 United States 2 - are maintained properly in order to be safe, reliable, and resilient.

17 The electric power industry has certain inherent hazards and risks, primarily due to

18 the fact that the T&D components collectively deliver “[a]pproximately four trillion

19 kWh of electric energy” annually across the United States 3 and T&D components are

20 exposed to a variety of extreme weather events, as well as general wear and tear.

21

22   1
             See                     https://www.hei.com/company-profile/about-hawaiian-
23 electric/default.aspx (last accessed Dec. 04, 2023).
     2
24        See U.S. Department of Energy, Transmission and Distribution Components,
   Quadrennial           Technology            Review         2015          (2015),
25 https://www.energy.gov/sites/prod/files/2015/09/f26/QTR2015-3F-Transmission-

26 and-Distribution_1.pdf
   3
                          (last accessed Dec. 04, 2023).
          Id.
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 1        40.   Accordingly, the Individual Defendants knew of the attendant risks in
 2 not properly maintaining their T&D components and were thus responsible for

 3 ensuring that the Company met all relevant regulations, and that safety was ensured.

 4           MATERIALLY FALSE AND MISLEADING STATEMENTS
 5 2019 False and Misleading Statements

 6        41.   On February 28, 2019, Hawaiian Electric filed an Annual Report on
 7 Form 10-K with the SEC, reporting the Company’s financial and operating results for

 8 the year ended December 31, 2018 (the “2018 10-K”). The 2018 10-K was signed by

 9 Defendants Hazelton, Sekimura, Lau, Ito, Dahl, Fargo, Fowler, Russell, Burke, and

10 Kane. In providing an overview of the Company’s business, the 2018 10-K stated:

11        Electric Utility. Hawaiian Electric and its operating utility subsidiaries,
12
          Hawaii Electric Light Company, Inc. (Hawaii Electric Light) and Maui
          Electric Company, Limited (Maui Electric), are regulated electric public
13        utilities that provide essential electric service to approximately 95% of
14
          Hawaii’s population through the operation of five separate grids that
          serve communities on the islands of Oahu, Hawaii, and Maui, Lanai and
15        Molokai. Hawaiian Electric’s mission is to provide innovative energy
16        leadership for Hawaii, to meet the needs and expectations of customers
          and communities, and to empower them with affordable, reliable and
17        clean energy. The goal is to create a modern, flexible and dynamic
18        electric grid that enables an optimal mix of distributed energy resources
          (such as private rooftop solar and battery storage), demand response,
19        and grid-scale resources to achieve the statutory goal of 100%
20        renewable energy by 2045.

21        42.   In   discussing   the   Company’s      compliance    with   environmental
22 regulations, the 2018 10-K stated:

23        Hawaiian Electric, Hawaii Electric Light and Maui Electric [the
24        “Utilities”], like other utilities, are subject to periodic inspections by
          federal, state and, in some cases, local environmental regulatory
25        agencies, including agencies responsible for the regulation of water
26        quality, air quality, hazardous and other waste and hazardous materials.
          These inspections may result in the identification of items needing
27        corrective or other action. Except as otherwise disclosed in this report [.
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 1        . .], the Company believes that each subsidiary has appropriately
 2
          responded to environmental conditions requiring action and that, as a
          result of such actions, such environmental conditions will not have a
 3        material adverse effect on the Company or Hawaiian Electric.
 4
          [Emphasis added].

 5        43.    In discussing the Company’s executive overview and strategy for its
 6 electric utility segment, the 2018 10-K stated:

 7        The Utilities provide electricity on all the principal islands in the state,
 8        other than Kauai, to approximately 95% of the state’s population, and
          operate five separate grids. The Utilities’ mission is to provide
 9        innovative energy leadership for Hawaii, to meet the needs and
10        expectations of customers and communities, and to empower them
          with affordable, reliable and clean energy. The goal is to create a
11        modern, flexible, and dynamic electric grid that enables an optimal mix
12        of distributed energy resources, such as private rooftop solar, demand
          response, and grid-scale resources to enable the creation of smart,
13        sustainable, resilient communities and achieve the statutory goal of
14        100% renewable energy by 2045. [Emphasis added].

15        44.    Appended to the 2018 10-K as an exhibit was a signed certification
16 pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) by Defendants Lau, Sekimura,

17 and Hazelton, attesting that “[t]he consolidated information contained in the [2018

18 10-K] fairly presents, in all material respects, the financial condition and results of

19 operations of [the Company] and its subsidiaries as of, and for, the periods presented

20 in this report.”

21        45.    Then, on March 25, 2019, the Company filed its Proxy Statement on
22 Schedule 14A with the SEC, solicited by Defendants Lau, Dahl, Fargo, Fowler, and

23 Russell (“2019 Proxy Statement”). The 2019 Proxy Statement solicited, inter alia: (i)

24 the election of Defendants Connors, Fargo, and Scilacci to the Board; (ii) approval of

25 the extension of the term of the Company’s Nonemployee Director stock plan and

26 increase the shares available for issuance thereunder; and (iii) approval of executive

27 compensation.

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 1         46.   The 2019 Proxy Statement contained the following information, in
 2 relevant part:

 3         Culture and Our Teammates
 4
           We are dedicated to creating a better Hawaii. We reflect this
 5         commitment through our efforts to provide products and services that
 6
           enhance our customers’ lives, and in our work to protect Hawaii’s
           unique environment, strengthen our economy, support our communities
 7         and act with integrity and accountability.
 8
           Our board oversees and works with management to find and cultivate
 9         the talent our organization needs to continue delivering value for our
10         shareholders, customers and communities. Our employees are
           committed to the company’s foundational values: integrity, excellence,
11         aloha and safety …
12
           Our Focus on Risk Oversight
13

14         The board spends a significant time on risk oversight. We have a
           board-approved consolidated enterprise risk management system
15         designed to identify and assess risk across the HEI enterprise and report
16         risks to the board, along with proposed strategies for mitigating such
           risks.
17

18         At least annually, the board conducts a strategic planning and risk
           review, during which we evaluate the company’s fundamental financial
19         and business strategies and assess major risks facing the company and
20         options to mitigate those risks …

21 (Emphasis added).

22
           47.   Meanwhile, the 2019 Proxy Statement failed to disclose that the
23
     Company had inadequate wildfire prevention protocols, their procedures were
24
     inadequate to meet the challenges for which they were ostensibly designed, and
25
     despite knowing the degree of risk that wildfires posed to Maui and the Company’s
26
     inadequate safety protocols and procedures placed Maui at a heightened risk of
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 1 devastating wildfires. Had shareholders known of these facts then they would not

 2 have approved the above-solicited proposals.

 3         48.   On August 2, 2019, Hawaiian Electric filed a Quarterly Report on Form
 4 10-Q with the SEC, reporting the Company’s financial and operating results for the

 5 quarter ended June 30, 2019 (the “Q2 2019 10-Q”). The Q2 2019 10-Q was signed

 6 by Defendants Lau, Sekimura, and Hazelton.            The Q2 2019 10-Q contained a
 7 substantively similar description of the Company’s executive overview and strategy

 8 for its electric utility segment as discussed, supra, in ¶ 43.

 9         49.   On November 1, 2019, Hawaiian Electric filed a Quarterly Report on
10 Form 10-Q with the SEC, reporting the Company’s financial and operating results for

11 the quarter ended September 30, 2019 (the “Q3 2019 10-Q”). The Q3 2019 10-Q was

12 signed by Defendants Lau, Sekimura, and Hazelton. The Q3 2019 10-Q contained a

13 substantively similar description of the Company’s executive overview and strategy

14 for its electric utility segment as discussed, supra, in ¶ 43.

15         50.   The above-referenced statements were false and misleading at relevant
16 times. In particular, the individual statements that: (i) “the Company believes that

17 each subsidiary has appropriately responded to environmental conditions requiring

18 action and that, as a result of such actions, such environmental conditions will not

19 have a material adverse effect on the Company or Hawaiian Electric;” and (ii) “[t]he

20 Utilities’ mission is to provide innovative energy leadership for Hawaii, to meet the

21 needs and expectations of customers and communities, and to empower them with

22 affordable, reliable and clean energy” were false and misleading when made and/or

23 lacked information necessary to make the statements not misleading because the

24 Individual Defendants failed to disclose that Hawaiian Electric’s wildfire prevention

25 and safety protocols and procedures were inadequate to meet the challenges for

26 which they were ostensibly designed and despite knowing the degree of risk that

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 1 wildfires posed to Maui and the Company’s inadequate safety protocols and

 2 procedures placed Maui at a heightened risk of devastating wildfires.

 3 2020 False and Misleading Statements

 4        51.   On February 28, 2020, Hawaiian Electric filed an Annual Report on
 5 Form 10-K with the SEC, reporting the Company’s financial and operating results for

 6 the year ended December 31, 2019 (the “2019 10-K”). The 2019 10-K was signed by

 7 Defendants Lau, Seu, Sekimura, Hazelton, Ito, Connors, Dahl, Fargo, Fowler, Kane,

 8 Johns, Russell, Burke, Powell, Zlotnicka, and Scilacci. The 2019 10-K contained

 9 substantively similar descriptions of the Company’s business, compliance with

10 environmental regulations, and executive overview and strategy of its electric utility

11 segment, as discussed, supra, in ¶¶ 42–43.

12        52.   In addition, in discussing the Company’s environmental, social and
13 governance (“ESG”) risks and opportunities, the 2019 10-K stated:

14        [ESG] considerations have long been an integral part of HEI’s strategy
15
          to be a “catalyst for a better Hawaii” for the benefit of all stakeholders.
          The Company firmly believes that effective management of its ESG
16        risks and opportunities creates a strategic business advantage; improves
17
          the lives of our employees, through focus on employee health, wellness,
          safety, empowerment and increased engagement; improves the
18        sustainability, well-being and resilience of our communities, the state
19        and the environment; and ultimately leads to sustained long-term value
          creation for our investors.
20

21        The [Hawaiian Electric] Board of Directors is responsible for the
          oversight of the Company’s enterprise risk management (ERM)
22        programs, which are designed to address all material risks and
23        opportunities, including ESG considerations. The Board of Directors
          has delegated the day-to-day responsibility to execute on these action
24        plans to management. The Company believes ESG considerations are
25        embedded in our daily actions and drive how we engage with our
          employees, communities, and shareholders.
26

27        The Company intends to leverage the frameworks developed by the
          Task Force on Climate-related Financial Disclosure (TCFD) and the
28
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 1         Sustainability Accounting Standards Board (SASB) to communicate our
 2
           approach and progress on ESG matters in future filings.

 3         We are committed to achieving a renewable, sustainable energy future,
 4
           providing leadership in corporate social responsibility, and adhering to
           governance best practices. [Emphasis added].
 5

 6         53.   Appended to the 2019 10-K as an exhibit was a signed certification

 7 pursuant to SOX by Defendants Lau, Seu, Sekimura, and Hazelton, attesting that

 8 “[t]he consolidated information contained in the [2019 10-K] fairly presents, in all

 9 material respects, the financial condition and results of operations of [the Company]

10 and its subsidiaries as of, and for, the periods presented in this report.”

11         54.   Then, on March 26, 2020, the Company filed its Proxy Statement on

12 Schedule 14A with the SEC, solicited by Defendants Lau, Connors, Dahl, Fargo,

13 Fowler, Kane, Powell, Russell, Scilacci, and Zlotnicka (the “2020 Proxy Statement”).

14 The 2020 Proxy Statement solicited, inter alia: (i) the election of Defendants Fowler,

15 Russell, Zlotnicka, and Kane to the Board; and (ii) approval of executive

16 compensation.

17         55.   The 2020 Proxy Statement contained the following information, in

18 relevant part:

19         Board Oversight of Strategy and Risk Management: Investing in
           Hawaii’s Sustainable Future
20

21         Sustainability, or environment, social and governance (ESG),
           considerations have long been an integral part of HEI’s strategy to be
22         a “catalyst for a better Hawaii.” We firmly believe that effective
23         management of ESG risks and opportunities creates a strategic business
           advantage; improves the sustainability, well-being and resilience of our
24         communities, our state and our environment; and leads to sustained
25         long-term value creation for our investors.

26         The Board is responsible for the oversight of HEI’s enterprise risk
27         management (ERM) programs, which are designed to address all
           material risks and opportunities, including ESG considerations. […]
28
                                               16
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 1

 2
           This past year, our Board prioritized integrating sustainability even
           further into our governance structures, decision-making processes
 3         and reporting. We focused our strategic retreat on climate change and
 4
           other ESG factors relevant to our companies. Since then, the HEI
           companies have been further integrating climate change and ESG
 5         factors into strategic planning and ERM processes.
 6
     (Emphasis added).
 7

 8         56.   Meanwhile, the 2020 Proxy Statement failed to disclose that the

 9 Company had inadequate wildfire prevention protocols, their procedures were

10 inadequate to meet the challenges for which they were ostensibly designed, and

11 despite knowing the degree of risk that wildfires posed to Maui and the Company’s

12 inadequate safety protocols and procedures placed Maui at a heightened risk of

13 devastating wildfires. Had shareholders known of these facts then they would not

14 have approved the above-solicited proposals.

15         57.   On May 5, 2020, Hawaiian Electric filed a Quarterly Report on Form

16 10-Q with the SEC, reporting the Company’s financial and operating results for the

17 quarter ended March 31, 2020 (the “Q1 2020 10-Q”). The Q1 2020 10-Q was signed

18 by Defendants Lau, Seu, Sekimura, and Hazelton. The Q1 2020 10-Q contained a

19 substantively similar description of the Company’s executive overview and strategy

20 for its electric utility segment as discussed, supra, in ¶ 43.

21         58.   On August 6, 2020, Hawaiian Electric filed a Quarterly Report on Form

22 10-Q with the SEC, reporting the Company’s financial and operating results for the

23 quarter ended June 30, 2020 (the “Q2 2020 10-Q”). The Q2 2020 10-Q was signed

24 by Defendants Lau, Seu, Sekimura, and Hazelton. The Q2 2020 10-Q contained a

25 substantively similar description of the Company’s executive overview and strategy

26 for its electric utility segment as discussed, supra, in ¶ 43.

27

28
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 1        59.   On September 15, 2020, Hawaiian Electric issued a press release
 2 announcing that the Company had released its first ESG report (the “2019 ESG

 3 Report”). The press release stated:

 4        Hawaiian Electric [. . .] today released its first consolidated report
 5
          describing its policies, actions and performance data with respect to
          [ESG] and sustainability-related matters. Such reports are frequently
 6        referred to as “ESG” reports and are becoming increasingly common as
 7
          investors seek to understand how public companies are impacting the
          environment and society, as well as potential opportunities and risks to
 8        companies’ long-term financial and operational strength.
 9
          “We’re proud to issue our first consolidated [Hawaiian Electric] ESG
10        report to help customers, employees, investors and other stakeholders
11        understand how [Hawaiian Electric’s] strategies and operations advance
          ESG outcomes and create long-term value for all stakeholders,” said
12        [Defendant Lau[.]]
13
          “While this is our first consolidated [Hawaiian Electric] ESG report,
14        ESG principles and sustainability have long been fundamental values of
15        [Hawaiian Electric], so much so that we’ve often said that ESG is in our
          DNA. With all of our operations in the middle of the Pacific Ocean, we
16        know that our company’ long-term health is inextricably linked with the
17        strength of the economy, communities, and environment of the
          Hawaiian Islands. This linkage is all the more clear in the context of the
18        COVID-19 pandemic, and we’re working hard to help our customers,
19        employees and communities through this period and to help our
          economy recover,” said Lau.
20

21        60.   That same day, Hawaiian Electric published its 2019 ESG Report. In
22 discussing sustainability governance, the 2019 ESG Report stated:

23        We see ESG-related strategies and risks as having the same potential as
          other strategies and risks to impact long-term value creation. As such,
24        we’ve integrated material ESG factors into company governance
25        structures and management activities. Just like other strategies and
          risks, we’re identifying, measuring, managing and assigning
26        accountability for material ESG issues.
27
          Company strategies are overseen by the Board as a whole and are
28
                                             18
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 1       managed through our strategic planning and oversight process. The
 2
         Board provides guidance on strategic priorities and plans, including at
         its annual strategic retreat, and approves the budget to allocate resources
 3       for agreed upon strategies.
 4
         Our full Board reviews and provides input on major risks for our
 5       companies and determines our risk appetite. This includes risks
 6       relating to safety and potential physical risk to utility infrastructure or
         to bank loan collateral from climate change impacts. The [Hawaiian
 7       Electric] Audit & Risk Committee assists the Board in its risk oversight
 8       role by overseeing our Enterprise Risk Management (ERM) program,
         which is designed to identify and assess key risks across the [Hawaiian
 9       Electric] enterprise and report such risks to the Board, along with
10       strategies for mitigating such risks. The Hawaiian Electric Audit & Risk
         Committee and the ASB Audit Committee and Risk Committee assist in
11       risk oversight of those subsidiaries.
12
         The [Hawaiian Electric] Nominating & Corporate Governance
13       Committee (NCG Committee) reviews strategies and risks involving
14       governance and assesses leadership development and succession
         planning to ensure we have the right leadership to execute our strategies.
15       The role of the NCG Committee has recently expanded to include
16       review of human capital management and ensuring ESG oversight.
         [Emphasis added].
17

18       61.   Further in discussing environmental commitment and management, the
19 2019 ESG Report stated:

20       Our customers and communities expect that through our daily
         operations we will protect our air and water, reduce waste, and conserve
21       natural resources. More than 30 environmental professionals, including
22       scientists, engineers, chemists, and a wildlife biologist work full-time at
         our company to ensure that employees and external contractors
23       understand and comply with all applicable environmental laws,
24       regulations, permitting requirements and procedures regarding air and
         water quality, noise control, hazardous materials, and protected species.
25

26       Our Environmental Division’s mission is to ensure that the company
         fulfills its kuleana, responsibility, to protect Hawai’i’s unique
27       environment through environmental compliance and stewardship and
28
                                             19
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 1       timely, innovative, cost-effective Environmental Management Programs
 2
         and Standard Operating Procedures, which are comprehensive and
         formalized.
 3

 4
         Critical elements of the programs and procedures include year-round
         risk and opportunities assessment, continuous improvement, compliance
 5       management and tracking, air and water quality monitoring, and
 6       extensive environmental compliance training in air quality requirements,
         spill prevention control and countermeasures, storm water runoff, proper
 7       handling and disposal of hazardous materials, and protected species
 8       awareness and protection. All contractors and subcontractors working
         at Hawaiian Electric sites are required to attend Contractor
 9       Environmental Orientation training, conducted by our environmental
10       staff.

11       Internal audits are conducted to verify compliance with environmental
12       permits, regulations and policies, and fulfill corporate risk management
         requirements. Our internal Corporate Audit Team audits the
13       Environmental Division at least once every three years. Audit reports
14       are used to create Management Action Plans, ensuring that highest risk
         items are given priority and addressed in a timely manner. The
15       Environmental Division also performs periodic environmental
16       compliance audits of our company facilities to identify areas for
         improvement.
17

18       62.       Finally, in discussing the Company’s purported commitment to safety,
19 the 2019 ESG Report stated:

20       Safety is our number one priority at Hawaiian Electric. Our goal is to
         provide a safe and healthy work environment, where every employee
21       makes safety a central part of his or her job.
22
         Our safety commitment is to provide and support:
23

24             •   Managerial responsibility for health and safety issues
               •   Procedures for hazard identification and safety risk assessment
25
               •   Operating health and safety guidelines, procedures, and policies
26             •   Emergency planning and preparedness procedures
27
               •   Safety performance monitoring, measurement, and reporting
               •   Internal and external health and safety audits. [Emphasis added].
28
                                               20
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 1

 2
           63.    On November 6, 2020, Hawaiian Electric filed a Quarterly Report on

 3
     Form 10-Q with the SEC, reporting the Company’s financial and operating results for

 4
     the quarter ended September 30, 2020 (the “Q3 2020 10-Q”). The Q3 2020 10-Q

 5
     was signed by Defendants Lau, Seu, Sekimura, and Hazelton. The Q3 2020 10-Q

 6
     contained a substantively similar description of the Company’s executive overview

 7
     and strategy for its electric utility segment as discussed, supra, in ¶ 43.

 8
           64.    The above-referenced statements were false and misleading at relevant

 9
     times. In particular, the individual statements that: (i) “Our full Board reviews and

10
     provides input on major risks for our companies and determines our risk appetite.

11
     This includes risks relating to safety and potential physical risk to utility

12
     infrastructure […];” (ii) “Audit reports are used to create Management Action Plans,

13
     ensuring that highest risk items are given priority and addressed in a timely manner;”

14
     (iii) “Safety is our number one priority at Hawaiian Electric;” and (iv) that the

15
     Company’s “safety commitment is to provide” “[p]rocedures for hazard

16
     identification and safety risk assessment,” and “[e]mergency planning and

17
     preparedness procedures” were false and misleading when made and/or lacked

18
     information necessary to make the statements not misleading because the Individual

19
     Defendants failed to disclose that Hawaiian Electric’s wildfire prevention and safety

20
     protocols and procedures were inadequate to meet the challenges for which they were

21
     ostensibly designed and despite knowing the degree of risk that wildfires posed to

22
     Maui and the Company’s inadequate safety protocols and procedures placed Maui at

23
     a heightened risk of devastating wildfires.

24 2021 False and Misleading Statements

25
           65.    On February 26, 2021, Hawaiian Electric filed an Annual Report on

26
     Form 10-K with the SEC, reporting the Company’s financial and operating results for

27
     the year ended December 31, 2020 (the “2020 10-K”). The 2020 10-K was signed by

28
     Defendants Lau, Seu, Sekimura, Johns, Ajello, Hazelton, Ito, Connors, Dahl, Fargo,
                                           21
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 1 Fowler, Kane, Pakkala, Russell, Burke, Powell, Zlotnicka, and Scilacci. The 2020

 2 10-K contained substantively similar descriptions of the Company’s business,

 3 compliance with environmental regulations, executive overview and strategy of its

 4 electric utility segment, and purported commitment to ESG principles as discussed,

 5 supra, at ¶¶ 42–43, and 62.

 6         66.   Appended to the 2020 10-K as an exhibit was a signed certification
 7 pursuant to SOX by Defendants Lau, Seu, Sekimura, and Hazelton, attesting that

 8 “[t]he consolidated information contained in the [2020 10-K] fairly presents, in all

 9 material respects, the financial condition and results of operations of [the Company]

10 and its subsidiaries as of, and for, the periods presented in this report.”

11         67.   Then, on March 26, 2021, the Company filed its Proxy Statement on
12 Schedule 14A with the SEC, solicited by Defendants Lau, Connors, Dahl, Fargo,

13 Fowler, Kane, Powell, Russell, Scilacci, and Zlotnicka (the “2021 Proxy Statement”).

14 The 2021 Proxy Statement solicited, inter alia: (i) election of Defendants Dahl,

15 Kane, and Lau to the Board; and (ii) approval of executive compensation.

16         68.   The 2021 Proxy Statement contained the following information, in
17 relevant part:

18         Board Oversight of ESG Strategy and Risk Management
19
           We firmly believe that effective management of ESG risks and
20         opportunities creates a strategic advantage; improves the
21         sustainability, well-being and resilience of our communities, our
           economy and our environment; and leads to sustained long-term value
22         creation for our investors.
23
           […]
24

25         In 2020, our Board fully integrated material ESG factors into the
           company’s governance structures and oversight of management
26         activities. We expanded the responsibilities of the Nominating &
27         Corporate Governance Committee to include overseeing human capital

28
                                               22
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 1         management and ensuring all material ESG areas have appropriate
 2
           oversight.

 3         […]
 4
           The new performance-based regulation (PBR) framework, developed
 5         with our regulators and stakeholders, further incentivizes the utility to
 6         achieve ESG outcomes relating to increasing renewable energy,
           facilitating customer participation in the clean energy transition,
 7         modernizing our grid and advancing affordability and customer
 8         equity…

 9 (Emphasis added).

10
           69.    Meanwhile, the 2021 Proxy Statement failed to disclose that the
11
     Company had inadequate wildfire prevention protocols, their procedures were
12
     inadequate to meet the challenges for which they were ostensibly designed, and
13
     despite knowing the degree of risk that wildfires posed to Maui and the Company’s
14
     inadequate safety protocols and procedures placed Maui at a heightened risk of
15
     devastating wildfires. Had shareholders known of these facts then they would not
16
     have approved the above-solicited proposals.
17
           70.    On April 22, 2021, Hawaiian Electric issued a press release announcing
18
     that the Company had issued a consolidated ESG report (the “2020 ESG Report”).
19
     The press release stated:
20
           Hawaiian Electric [. . .] today released an updated consolidated report
21         describing its policies, actions and performance with respect to a
22         number of [ESG] matters, including climate-related risks and
           opportunities.
23

24                                           ***

25         “With all of our operations in the middle of the Pacific Ocean, we know
26         that our company’s long-term health is inextricably linked with the
           strength of the economy, communities, and environment of the
27         Hawaiian Islands. That’s why ESG and sustainability considerations are
28
                                              23
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 1         at the core of our mission to be a catalyst for a better Hawai’i,” said
 2
           [Defendant] Lau[.]

 3         “Since issuing our inaugural ESG report last fall, we have continued our
 4
           cross-enterprise work to further integrate ESG and climate-related
           factors into our governance, strategies, risk management and reporting.
 5         This second consolidated ESG report provides an update on our ESG
 6         efforts and reflects our commitment to continuous improvement,
           transparency and accountability surrounding these very important
 7         issues,” said Lau.
 8
           71.    That same day, Hawaiian Electric published its 2020 ESG Report. The
 9
     2020 ESG Report contained substantively similar descriptions of the Company’s
10
     policies regarding sustainability governance and risk management, environmental
11
     management, and purported commitment to safety as discussed, supra, in ¶¶ 60–62.
12
           72.    On May 10, 2021, Hawaiian Electric filed a Quarterly Report on Form
13
     10-Q with the SEC, reporting the Company’s financial and operating results for the
14
     quarter ended March 31, 2021 (the “Q1 2021 10-Q”). The Q1 2021 10-Q was signed
15
     by Defendants Lau, Seu, Sekimura, and Hazelton. The Q1 2021 10-Q contained a
16
     substantively similar description of the Company’s executive overview and strategy
17
     for its electric utility segment as discussed, supra, in ¶ 43.
18
           73.    On August 9, 2021, Hawaiian Electric filed a Quarterly Report on Form
19
     10-Q with the SEC, reporting the Company’s financial and operating results for the
20
     quarter ended June 30, 2021 (the “Q2 2021 10-Q”). The Q2 2021 10-Q was signed
21
     by Defendants Lau, Seu, Sekimura, and Hazelton. The Q2 2021 10-Q contained a
22
     substantively similar description of the Company’s executive overview and strategy
23
     for its electric utility segment as discussed, supra, in ¶ 43.
24
           74.     On November 5, 2021, Hawaiian Electric filed a Quarterly Report on
25
     Form 10-Q with the SEC, reporting the Company’s financial and operating results for
26
     the quarter ended September 30, 2021 (the “Q3 2021 10-Q”). The Q3 2021 10-Q
27
     was signed by Defendants Lau, Seu, Sekimura, and Hazelton. The Q3 2021 10-Q
28
                                                 24
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 1 contained a substantively similar description of the Company’s executive overview

 2 and strategy for its electric utility segment as discussed, supra, in ¶ 43.

 3         75.   The above-referenced statements were false and misleading at relevant
 4 times. In particular, the same statements described, supra, at ¶ 64 and repeated by

 5 the Company in its 2021 filings were false and misleading when made and/or lacked

 6 information necessary to make the statements not misleading because the Individual

 7 Defendants failed to disclose that Hawaiian Electric’s wildfire prevention and safety

 8 protocols and procedures were inadequate to meet the challenges for which they were

 9 ostensibly designed and despite knowing the degree of risk that wildfires posed to

10 Maui and the Company’s inadequate safety protocols and procedures placed Maui at

11 a heightened risk of devastating wildfires.

12 2022 False and Misleading Statements

13         76.   On February 25, 2022, Hawaiian Electric filed an Annual Report on
14 Form 10-K with the SEC, reporting the Company’s financial and operating results for

15 the year ended December 31, 2021 (the “2021 10-K”). The 2021 10-K was signed by

16 Defendants Seu, Hazelton, Sekimura, Johns, Ajello, Kimura, Ito, Connors, Dahl,

17 Fargo, Flores, Fowler, Kane, Taniguchi, Pakkala, Russell, Burke, and Scilacci. The

18 2021 10-K contained substantively similar descriptions of the Company’s business,

19 compliance with environmental regulations, executive overview and strategy of its

20 electric utility segment, and purported commitment to ESG principles as discussed,

21 supra, in ¶¶ 42–43 and 62.

22         77.   Appended to the 2021 10-K as an exhibit was a signed certification
23 pursuant to SOX by Defendants Seu, Sekimura, Kimura, and Hazelton, attesting that

24 “[t]he consolidated information contained in the [2021 10-K] fairly presents, in all

25 material respects, the financial condition and results of operations of [the Company]

26 and its subsidiaries as of, and for, the periods presented in this report.”

27

28
                                               25
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 1        78.   On March 18, 2022 the Company filed its Proxy Statement on Schedule
 2 14A with the SEC, solicited by Defendants Connors, Dahl, Fargo, Flores, Fowler,

 3 Kane, Russell, Scilacci, and Seu (the “2022 Proxy Statement”). The 2022 Proxy

 4 Statement solicited, inter alia: (i) the election of Defendants Connors, Dahl, Fargo,

 5 Flores, Kane, Scilacci, and Seu to the Board; and (ii) approval of executive

 6 compensation.

 7        79.   The 2022 Proxy Statement contained the following information, in
 8 relevant part:

 9        Board Oversight of Strategy and Risk Management
10
          Effective management of risks and opportunities improves the
11        sustainability, well-being and resilience of our communities, our state
12
          and our environment […]

13        As a Board, we see ESG-related strategies and risks as having the same
14        potential as other strategies and risks to impact long-term value creation.
          As a result, we deliberately composed our Board to ensure we have
15        directors who have direct experience related to ESG topics, including
16        renewable energy, climate change strategy and environmental
          management.
17

18        Our full Board reviews and provides input on our strategies and major
          risks and determines our risk appetite. This includes risks relating to
19        safety, other human capital considerations and climate change.
20
          […]
21

22                                      *     *      *

23        [] Hawaiian Electric – Focused on achieving aggressive climate goals
24        in a way that is affordable, reliable and resilient for our customers.

25 (Emphasis added)

26
          80.   Meanwhile, the 2022 Proxy Statement failed to disclose that the
27
     Company had inadequate wildfire prevention protocols, their procedures were
28
                                              26
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 1 inadequate to meet the challenges for which they were ostensibly designed, and

 2 despite knowing the degree of risk that wildfires posed to Maui and the Company’s

 3 inadequate safety protocols and procedures placed Maui at a heightened risk of

 4 devastating wildfires. Had shareholders known of these facts then they would not

 5 have approved the above-solicited proposals.

 6        81.      On April 12, 2022, Hawaiian Electric issued a press release announcing
 7 that the Company had issued a consolidated ESG report (the “2021 ESG Report”).

 8 The press release quoted Defendant Seu, stating: “[o]ur ESG progress demonstrates

 9 our commitment not only to operating a sustainable business, but also to building a

10 sustainable Hawai’i in which our children and grandchildren, our communities, our

11 customers and our fellow employees will thrive together now and for generations to

12 come,” and “[o]ur company has been serving Hawaiʻi for over 130 years, and this

13 deep-felt mindset comes naturally to us as a longstanding business in our island state.

14 The alignment between ESG principles, state policy in Hawaiʻi, community

15 expectations, and our goals as a company has never been stronger.”

16        82.      That same day, Hawaiian Electric published the 2021 ESG Report. The
17 2021 ESG Report contained substantively similar descriptions of the Company’s

18 policies regarding sustainability governance and risk management, environmental

19 management, and purported commitment to safety as discussed, supra, in ¶¶ 60–62.

20        83.     In addition, in discussing reliability and resilience, the 2021 ESG Report
21 stated:

22        We are focused on ensuring the resilience of our system. Our efforts include:
23
                • Using advanced climate risk modeling to access risks and inform
24                our planning process
25
                • Deploying advanced meters and other technologies that allow us
26                to respond more quickly to system interruptions
27
                • Developing damage prediction modeling to estimate damage and
28
                                               27
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 1             outages from severe natural event scenarios in order to support
 2
               resilience planning efforts

 3          • Developing plans for community microgrids and/or critical
 4            customer hubs to be able to quickly restore power to critical
              customers
 5

 6          • Building more modern and efficient power plants inland, away
              from the coastline. An example is the Schofield Generating
 7            Station, which was completed and brought online in 2018. The
 8            biofuel-capable generating facility is located on military property
              inland at a higher elevation. It can be isolated to serve the military
 9            base and other critical facilities in the event of an emergency, and
10            feeds electricity to the grid that serves all O’ahu customers the
              rest of the time.
11

12          • Collaborating with key partners, such as military, to supply
              energy to customers during an emergency
13

14          • Engaging with stakeholders to incorporate resilience needs and
              priorities through our Integrated Grid Planning process, including
15
              its Resilience Working Group.
16
                                                  ***
17

18       We continually maintain and upgrade our transmission and distribution
         system to ensure seamless delivery of power to our customers. Day-to-
19
         day maintenance is a key part of keeping the grid resilient. We regularly
20       inspect our poles, lines, and other equipment, and work to replace and
         upgrade aging and faulty equipment before failures happen. We
21
         regularly trim the vegetation around our equipment, as many power
22       outages during high winds and storms are due to tree branches or other
         vegetation falling onto power lines. We have also replaced traditional
23
         power lines with insulated conductor systems to improve reliability and
24       resilience in targeted areas prone to vegetation-related outages.
25
         We’re working to reduce the impact of outages by adding devices to
26       section off parts of the grid to reduce the number of customers affected
27
         by an outage. We have also completed distribution protection studies to
         improve safety and mitigate risk on each of the five islands we serve.
28
                                             28
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 1       We measure and report reliability performance using metrics commonly
 2
         used in the electric utility industry regarding the duration and frequency
         of power interruptions for customers.
 3

 4
         Both the company (through performance incentives) and executives
         (through executive compensation goals) have financial incentives to
 5       promote strong reliability performance.
 6
         We are working on a multi-year plan and PUC application focused on
 7       foundational investments in transmission and distribution system
 8       resilience. Our proposed plan will include:

 9             • Strengthening our most critical transmission lines to withstand
10               extreme winds

11             • Hardening distribution lines serving critical community lifeline
12               facilities such as hospitals, military sites, communications
                 infrastructure, water and wastewater facilities, ports and
13               emergency response facilities
14
               • Upgrading specific poles to improve restoration after a storm or
15
                 hurricane
16
               • Moving lines underground in targeted areas prone to vegetation-
17
                 related damage
18

19
               • Removing large trees that are at risk of falling into lines during a
                 storm
20

21             • Strengthening lines and deploying devices to help prevent and
                 respond to wildfires
22

23             • Installing equipment in select substations to reduce flood impacts.
                 [Emphasis added].
24

25       84.      In discussing wildfire prevention and mitigation, the 2021 ESG Report
26 stated:

27       Episodic drought, a warming climate and the expansion of nonnative
         fire-prone grasses and shrubs has led to an increase in wildfires in
28
                                               29
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 1         Hawai’i. 98% of wildfires in Hawai’i are human caused and the threat to
 2
           communities is high year-round. In addition to the utility’s own wildfire
           mitigation plans, we have joined with community members and wildfire
 3         collaborators to help prevent and mitigate wildfires in known hot spots
 4
           across our service areas. As members of the Wai’anae Wildfire Hui in
           West O’ahu and Pacific Fire Exchange on Maui, we meet monthly to
 5         share ideas and discuss priority projects. We support the Hawai’i
 6         Wildfire Management Organization on Hawai’i Island, which works
           with communities across the state on wildfire planning, prevention and
 7         mitigation activities. By raising awareness, implementing key land
 8         management practices and collaborating on projects, these organizations
           are working to reduce the wildfire risk in Hawai’i and build strong,
 9         resilient communities.
10
           85.    On May 9, 2022, Hawaiian Electric filed a Quarterly Report on Form
11
     10-Q with the SEC, reporting the Company’s financial and operating results for the
12
     quarter ended March 31, 2022 (the “Q1 2022 10-Q”). The Q1 2022 10-Q was signed
13
     by Defendants Seu, Sekimura, Kimura, and Hazelton. The Q1 2022 10-Q contained
14
     a substantively similar description of the Company’s executive overview and strategy
15
     for its electric utility segment as discussed, supra, in ¶ 43.
16
           86.    On August 8, 2022, Hawaiian Electric filed a Quarterly Report on Form
17
     10-Q with the SEC, reporting the Company’s financial and operating results for the
18
     quarter ended June 30, 2022 (the “Q2 2022 10-Q”). The Q2 2022 10-Q was signed
19
     by Defendants Seu, Sekimura, Kimura, and Ito. The Q2 2022 10-Q contained a
20
     substantively similar description of the Company’s executive overview and strategy
21
     for its electric utility segment as discussed, supra, in ¶ 43.
22
           87.    On November 7, 2022, Hawaiian Electric filed a Quarterly Report on
23
     Form 10-Q with the SEC, reporting the Company’s financial and operating results for
24
     the quarter ended September 30, 2022 (the “Q3 2022 10-Q”). The Q3 2022 10-Q
25
     was signed by Defendants Seu, Sekimura, Kimura, and Ito. The Q3 2022 10-Q
26
     contained a substantively similar description of the Company’s executive overview
27
     and strategy for its electric utility segment as discussed, supra, in ¶ 43.
28
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 1        88.   The above-referenced statements were false and misleading at relevant
 2 times. In particular, the same statements described, supra, at ¶ 64 and repeated by

 3 the Company in its 2022 filings as well as: (i) “[w]e are focused on ensuring the

 4 resilience of our system” by “[d]eploying advanced meters and other technologies

 5 that allow us to respond more quickly to system interruptions,” “[d]eploying damage

 6 prediction modeling to estimate damage and outages from severe natural event

 7 scenarios in order to support resilience planning efforts;” (ii) [w]e continually

 8 maintain and upgrade our transmission and distribution system to ensure seamless

 9 delivery of power to our customers;” (iii) [w]e regularly inspect our poles, lines, and

10 other equipment, and work to replace and upgrade aging and faulty equipment before

11 failures happen;” (iv) [w]e regularly trim the vegetation around our equipment, as

12 many power outages during high winds and storms are due to tree branches or other

13 vegetation falling onto power lines;” and (v) “[w]e support the Hawai’i Wildfire

14 Management Organization on Hawai’i Island, which works with communities across

15 the state on wildfire planning, prevention and mitigation activities” were false and

16 misleading when made and/or lacked information necessary to make the statements

17 not misleading.

18        89.   The Individual Defendants failed to disclose that, inter alia, Hawaiian
19 Electric’s wildfire prevention and safety protocols and procedures were inadequate to

20 meet the challenges for which they were ostensibly designed and despite knowing the

21 degree of risk that wildfires posed to Maui and the Company’s inadequate safety

22 protocols and procedures placed Maui at a heightened risk of devastating wildfires,

23 as well as the fact that the Company did not maintain its equipment and in fact had

24 old, decaying equipment that went without necessary maintenance.

25 2023 False and Misleading Statements

26        90.   On February 27, 2023, Hawaiian Electric filed an Annual Report on
27 Form 10-K with the SEC, reporting the Company’s financial and operating results for

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 1 the year ended December 31, 2022 (the “2022 10-K”). The 2022 10-K was signed by

 2 Defendants Seu, Ito, Sekimura, Kimura, Johns, Ajello, Connors, Dahl, Fargo, Flores,

 3 Fowler, Kane, Otani, Kipp, Pakkala, Taniguchi, Russell, Kennedy, and Scilacci. The

 4 2022 10-K contained substantively similar descriptions of the Company’s business,

 5 compliance with environmental regulations, executive overview and strategy of its

 6 electric utility segment, and purported commitment to ESG principles, as discussed,

 7 supra, in ¶¶ 42–43 and 62.

 8        91.    Appended to the 2022 10-K as an exhibit was a signed certification
 9 pursuant to SOX by Defendants Seu, Sekimura, Kimura, and Ito, attesting that “[t]he

10 consolidated information contained in the [2022 10-K] fairly presents, in all material

11 respects, the financial condition and results of operations of [the Company] and its

12 subsidiaries as of, and for, the periods presented in this report.”

13        92.    On March 24, 2023 the Company filed its Proxy Statement on Schedule
14 14A with the SEC, solicited by Defendants Connors, Dahl, Fargo, Flores, Fowler,

15 Kane, Kennedy, Otani, Russell, Scilacci, and Seu (the “2023 Proxy Statement”). The

16 2023 Proxy Statement solicited, inter alia: (i) the election of Defendants Connors,

17 Dahl, Fargo, Flores, Fowler, Kane, Kennedy, Otani, Scilacci, and Seu to the Board;

18 and (ii) approval of executive compensation.

19        93.    The 2023 Proxy Statement contained the following information, in
20 relevant part:

21        Board Oversight of Strategy and Risk Management
22
          Effective management of risks and opportunities leads to sustained long-
23        term value creation for our investors and improves the sustainability,
24        well-being and resilience of our communities, our state and our
          environment.
25

26        Our full Board reviews and provides input on our strategies and major
          risks and determines our risk appetite. This includes risks relating to a
27        number of topics, including but not limited to, safety, other human
28        capital considerations and climate change. […]
                                            32
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 1

 2
          As a Board, we consider ESG-related strategies and risks in the context
          of our overall company strategies and risks. As such, we have integrated
 3        oversight of ESG risks and opportunities into our existing Board and
 4
          committee responsibilities. In considering our Board composition, we
          also ensure we have directors who have direct experience related to ESG
 5        topics relevant to our strategies, including renewable energy, climate
 6        change strategy and environmental management.

 7                                     *      *     *
 8        HEI’s Enterprise Risk Management (ERM) function is principally
          responsible for identifying and monitoring risk at the holding company
 9        and its subsidiaries, and for reporting on high-risk areas to the Board
10        and designated Board committees. As a result, all HEI directors,
          including those who serve on the Compensation & Human Capital
11        Management Committee, are apprised of risks that could reasonably
12        be expected to have a material adverse effect on HEI.

13 (Emphasis added)

14

15        94.   Meanwhile, the 2023 Proxy Statement failed to disclose that the

16 Company had inadequate wildfire prevention protocols, their procedures were

17 inadequate to meet the challenges for which they were ostensibly designed, and

18 despite knowing the degree of risk that wildfires posed to Maui and the Company’s

19 inadequate safety protocols and procedures placed Maui at a heightened risk of

20 devastating wildfires. Had shareholders known of these facts then they would not

21 have approved the above-solicited proposals.

22        95.   On April 4, 2023, Hawaiian Electric issued a press release announcing

23 that the Company had released its latest ESG report (the “2022 ESG Report”). The

24 press release stated:

25        Hawaiian Electric [. . .] today announced the publication of its newest
          consolidated report describing its updated policies, actions and
26        performance for 2022 with respect to a range of environmental, social
27        and governance (ESG) matters. This is HEI’s fourth annual ESG report.

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 1         “Our [Hawaiian Electric] family of companies is guided by a common
 2
           purpose to create a better Hawai’i – one that is thriving economically,
           environmentally, culturally and socially,” said [Defendant] Seu[.] “We
 3         believe this purpose serves the long-term interests of all of our
 4
           stakeholders – it inspires us to act in ways that allow us not simply to
           advance, but to leap forward into a future that’s brighter for us all.”
 5

 6         The theme of HEI’s latest ESG report is “Laulima,” which translates to
           “many hands working together.” The report details the work of all of the
 7         [Hawaiian Electric] companies in 2022 toward their common purpose,
 8         including in areas such as decarbonization; economic health and
           affordability; reliability and resilience diversity, equity and inclusion;
 9         and human capital management.
10
           96.    That same day, Hawaiian Electric published its 2022 ESG Report. The
11
     2022 ESG Report contained substantively similar descriptions of the Company’s
12
     policies regarding sustainability governance and risk management, environmental
13
     management, purported commitment to safety, reliability and resilience, and wildfire
14
     prevention and mitigation, as discussed, supra, in ¶¶ 60–62 and 83–84.
15
           97.    On May 9, 2023, Hawaiian Electric filed a Quarterly Report on Form
16
     10-Q with the SEC, reporting the Company’s financial and operating results for the
17
     quarter ended March 31, 2023 (the “Q1 2023 10-Q”). The Q1 2023 10-Q was signed
18
     by Defendants Seu, Sekimura, Kimura, and Ito. The Q1 2023 10-Q contained a
19
     substantively similar description of the Company’s executive overview and strategy
20
     for its electric utility segment as discussed, supra, in ¶ 43.
21
           98.    On August 7, 2023, Hawaiian Electric filed a Quarterly Report on Form
22
     10-Q with the SEC, reporting the Company’s financial and operating results for the
23
     quarter ended June 30, 2023 (the “Q2 2023 10-Q”). The Q2 2023 10-Q was signed
24
     by Defendants Seu, Sekimura, Kimura, and Ito. The Q2 2023 10-Q contained a
25
     substantively similar description of the Company’s executive overview and strategy
26
     for its electric utility segment as discussed, supra, in ¶ 43.
27

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 1        99.    The above-referenced statements were materially false and misleading
 2 because Defendants made false and/or misleading statements, as well as failed to

 3 disclose material adverse facts about the Company’s business, operations, and

 4 prospects. Specifically, Defendants made false and/or misleading statements and/or

 5 failed to disclose that: (i) Hawaiian Electric’s wildfire prevention and safety

 6 protocols and procedures were inadequate to meet the challenges for which they were

 7 ostensibly designed; (ii) accordingly, despite knowing the degree of risk that

 8 wildfires posed to Maui, the Company’s inadequate safety protocols and procedures

 9 placed Maui at a heightened risk of devastating wildfires; (iii) the fact that the

10 Company did not maintain its equipment and in fact had old, decaying equipment

11 that went without necessary maintenance; and (iv) as a result, the Company’s public

12 statements were materially false and misleading at all relevant times.

13                               THE TRUTH EMERGES
14        100. On August 8, 2023, a wildfire broke out in Maui when power lines
15 belonging to Hawaiian Electric fell down in high winds which ultimately led to at

16 least 97 deaths and between $4 billion to $6 billion in losses from property damage

17 and business interruption.     Following this, the Individual Defendants’ false and
18 misleading statements began to unravel when it became apparent that Hawaiian

19 Electric’s wildfire prevention and safety protocols were inadequate, that the

20 Individual Defendants knew Hawaiian Electric’s protocols were in adequate, and that

21 the Individual Defendants failed to make Hawaiian Electric’s protocols adequate,

22 thus placing Maui and its citizens at a heightened risk of wildfires.

23        101. On August 12, 2023, news outlets began reporting that Hawaiian
24 Electric did not have a plan to shut off power in advance of the Hawaii wildfires.

25 For example, in an article entitled “Hawaii utility faces scrutiny for not cutting power

26 to reduce fire risks,” the Washington Post stated:

27        Four days before fast-moving brush fires engulfed parts of Maui,
28
          weather forecasters warned authorities that powerful wind gusts would
                                           35
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 1       trigger dangerous fire conditions across much of the island and Hawaii.
 2
         The state’s electric utility responded with some preemptive steps but did
 3       not use what is widely regarded as the most aggressive but effective
 4
         safety measure: shutting down the power.

 5       Hawaiian Electric, the utility that oversees Maui Electric and provides
 6       service to 95 percent of the state’s residents, did not deploy what’s
         known as a “public power shutoff plan,” which involves intentionally
 7       cutting off electricity to areas where big wind events could spark fires.
 8       A number of states, including California, have increasingly adopted this
         safety strategy after what were then the nation’s most destructive and
 9       deadliest modern fires, in 2017 and 2018.
10
         Hawaiian Electric was aware that a power shut-off was an effective
11       strategy, documents show, but had not adopted it as part of its fire
12       mitigation plans, according to the company and two former power and
         energy officials interviewed by The Washington Post. Nor, in the face of
13       predicted dangerous winds, did it act on its own, utility officials said,
14       fearing uncertain consequences.

15       The decision to avoid shutting off power is reflective of the utility’s
16       struggles to bolster its aging and vulnerable infrastructure against
         wildfires, said Jennifer Potter, who lives in Lahaina and was a member
17       of the Hawaii Public Utilities Commission until just nine months ago.
18
         “They were not as proactive as they should have been,” Potter said
19       about Hawaiian Electric’s fire-prevention planning, adding that there
20       had not been any real meaningful action to “address some of those
         inadequacies in terms of wildfire.” Doug McLeod, a former energy
21       commissioner for Maui County, also said the utility was aware of the
22       need for a regular shut-down system and to bury lines, especially given
         the “number of close calls in the past.”
23

24       Earlier this week, high winds caused widespread damage to utility
         infrastructure. The intense gusts knocked down about 30 utility poles
25       across the region, many onto trees and roads, complicating evacuations,
26       according to Maui County Mayor Richard Bissen. He confirmed that
         some electrical lines were energized when they hit the ground.
27

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 1          102. On this news, Hawaiian Electric’s stock price fell $10.94 per share, or
 2 33.76%, to close at $21.46 per share on August 14, 2023.

 3          103. Then, on August 16, 2023, The Wall Street Journal published an article
 4 entitled “Hawaiian Electric Is in Talks With Restructuring Firms.” The article stated:

 5          Hawaiian Electric is speaking with firms that specialize in restructuring
 6
            advisory work, exploring options to address the electric utility’s
            financial and legal challenges arising from the Maui wildfires, said
 7          people familiar with the matter.
 8
            Hawaiian Electric is facing a sell off in its stock and bonds, and has
 9          been hit with lawsuits alleging that its actions both before and during the
10          wildfires exacerbated the devastation Maui residents have suffered.

11          The company is in discussions over the strategies it can pursue and to
12          determine whether it needs to hire legal and financial advisers, the
            people said.
13

14          On Thursday evening, a day after the publication of this report, a
            company spokesperson said: “Like any company in this situation would
15          do, and as we do in the normal course of business, we are seeking advice
16          from experts—the goal is not to restructure the company but to endure
            as a financially strong utility that Maui and this state need.”
17

18          More customer lawsuits are expected in coming weeks to increase the
            costs of defending and settling claims for Hawaiian Electric just as its
19          access to financing is being threatened.
20
            S&P Global Ratings downgraded Hawaiian Electric’s credit rating to
21          junk on Tuesday, saying the wildfires destroyed a significant segment of
22          the company’s customer base and will take many years to restore. S&P
            also said that wildfire lawsuits seeking compensation for injuries, deaths
23          and property damage will weigh on the company’s credit quality.
24
            104. On August 17, 2023, The Wall Street Journal published an article
25
     entitled “Hawaiian Electric Knew of Wildfire Threat, but Waited Years to Act.” The
26
     article stated:
27
            During the 2019 wildfire season, one of the worst Maui had ever seen,
28
                                                37
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 1       Hawaiian Electric concluded that it needed to do far more to prevent its
 2
         power lines from emitting sparks.

 3       The utility examined California’s plans to reduce fires ignited by power
 4
         lines, started flying drones over its territory and vowed to take steps to
         protect its equipment and its customers from the threat of fire.
 5

 6       Nearly four years later, the company has completed little such work.
         Between 2019 and 2022, it invested less than $245,000 on wildfire-
 7       specific projects on the island, regulatory filings show. It didn’t seek
 8       state approval to raise rates to pay for broad wildfire-safety
         improvements until 2022, and has yet to receive it.
 9

10       Now, the company is facing scrutiny, litigation and a financial crisis
         over indications that its power lines might have played a role in igniting
11       the deadliest U.S. wildfire in more than a century. The blaze has caused
12       at least 110 deaths destroyed the historic town of Lahaina and resulted in
         an estimated billions of dollars in damage.
13

14       The fire’s cause hasn’t been determined, but mounting evidence
         suggests the utility’s equipment was involved. One video taken by a
15       resident shows a downed power line igniting dry grass along a road near
16       Lahaina. A firm that monitors grid sensors reported dozens of electrical
         disruptions in the hours before the fire began, including one that
17       coincided in time with video footage of a flash of light from power lines.
18
         Hawaiian Electric said it would investigate any role its infrastructure
19       may have played and cooperate with a separate probe into the fire
20       launched last week by the Hawaii attorney general.
21       “We all believe it’s important to understand what happened. And I think
22       we all believe it’s important to make sure it doesn’t happen again,” said
         Shelee Kimura, Hawaiian Electric’s chief executive.
23

24       In response to questions about its wildfire-mitigation spending, a
         spokesman for Hawaiian Electric said the company reduces wildfire risk
25       through its routine utility work, including trimming or removing trees
26       and upgrading, replacing and inspecting equipment. It said it has spent
         about $84 million on maintenance and tree work in Maui County since
27       2018.
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 1

 2
           The utility has long been a force in Hawaii politics and business. In the
           wake of the fire, its finances are reeling. Its stock has plunged 49% this
 3         week, and its credit rating was downgraded to junk by S&P.
 4
                                                ***
 5

 6         At the end of 2019, Hawaiian Electric issued a press release about
           wildfire risk. It said it would install heavier, insulated conductors on
 7         Maui and Oahu to minimize the risk of sparks when winds picked up, as
 8         well as technology to detect disruptions when the conductors came into
           contact with vegetation or each other. It said it would apply fire
 9         retardant on poles in risky areas and consider installing cameras and
10         other devices to monitor weather conditions during fire season.

11         In filings over the next two years with the Hawaii Public Utilities
12         Commission, which is tasked with approving utility projects and
           spending, the company made only passing reference to wildfire
13         mitigation.
14
           105.      Following the publications of The Wall Street Journal articles,
15
     Hawaiian Electric’s stock price fell $2.54 per share, or 17.43% to close at $12.03 per
16
     share on August 17, 2023.
17
           106.      On August 27, 2023, Hawaii Electric issued a press release wherein
18
     the Company admitted that its electrical equipment started the Maui wildfire, stating
19
     “[a] fire at 6:30 a.m. (the “Morning Fire”) appears to have been caused by power
20
     lines that fell in high winds.” The Company, however, disclaimed any responsibility
21
     for the second fire that ignited later that same day, despite the fire breaking out in the
22
     same area as the Morning Fire and the evidence pointing to the second fire being a
23
     continuation of the Morning Fire caused by the Company.
24
           107.      As a result of the foregoing, the Company’s share price has suffered
25
     an immense fall from a Relevant Period high of $55.15 on March 18, 2020 to $13.27
26
     on December 6, 2023, representing a total 75.94% decrease in the Company’s share
27
     price as a result of the wrongdoing as alleged herein.
28
                                                39
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 1                THE INDIVIDUAL DEFENDANTS’ KNOWLEDGE
 2        108.     Throughout the Relevant Period, the Individual Defendants knew that
 3 Hawaiian Electric’s wildfire prevention and safety protocols and procedures were

 4 inadequate to meet the challenges for which they were ostensibly designed and

 5 despite knowing the degree of risk that wildfires posed to Maui, the Company’s

 6 inadequate safety protocols and procedures placed Maui at a heightened risk of

 7 devastating wildfire. Despite their knowledge, the Individual Defendants continued

 8 to issue the above false and misleading statements and failed to omit facts necessary

 9 to make their statements not false and misleading.

10        109.     In 2018, and the years following, the Hawaii Wildfire Management
11 Organization identified Lahaina as a hotspot for potential wildfires due to the area’s

12 dry, windy, and hot characteristics. Moreover, in 2020, Lahaina was identified as a

13 High-Risk Wildfire Area in the Maui County Hazard Mitigation Plan Update.

14        110.     The Individual Defendants knew that the Company’s electrical
15 infrastructure was in dire need of repair as in 2019, the Company concluded that it

16 needed to do more to prevent its powerlines from emitting sparks.

17        111.     The Individual Defendants also knew that the Company did not use
18 any wildfire prevention technologies on its T&D components, such as covered

19 conductors, underground powerlines, composite powerlines, and non-expulsion

20 fuses, thus increasing the risk of causing a wildfire.

21        112.     The Individual Defendants also knew that the Company had caused
22 wildfires on the island previously. In August 2018, a fallen powerline started a fire

23 which covered 2,000 acres and damaged over 20 homes. Moreover, the Individual

24 Defendants knew, or ought to have known, of previous fires caused by other

25 electrical utility companies across the country, including Pacific, Gas & Electric

26 Company (“PG&E”) in California, PacifiCorp in Oregon, and SoCal Edison in

27 California.

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 1        113.     According to a 2019 filing by the Company, its 60,000 poles were
 2 vulnerable due to their age and the fact that Hawaii is in a “severe wood decay

 3 hazard zone.” The 2019 filing admitted that the Company had not replaced the aged

 4 wooden poles and acknowledged the “serious public hazard” if the poles failed.

 5 These poles, according to Maui News, were built to an “obsolete 1960’s standard”

 6 and were leaning and near the end of their life span. Despite this, the Individual

 7 Defendant failed to ensure the Company complied with modern day standards and

 8 allowed old and decayed poles to pose a serious risk to the public. The Company

 9 admitted in its 2022 PUC application that it needed funds to strengthen electrical

10 poles and that over $6.2 million would be required for “wildfire prevention &

11 mitigation on Maui,” and that $40 million in capital improvements/repairs would be

12 needed to help prevent wildfires more generally.

13        114.     Despite the foregoing at ¶¶ 108–114, the Individual Defendants
14 drastically underfunded their wildfire-specific projects between 2019 and 2022,

15 spending only a mere $245,000 on such projects. In fact, the Individual Defendants

16 did not seek approval to raise their rates to pay for necessary wildfire-safety

17 improvements until 2022 and refused to approve capital spending on ageing T&D

18 components and wildfire prevention for years prior. The Individual Defendants thus

19 neglected wildfire prevention and increased the risk of a wildfire occurring while, at

20 the same time, falsely and misleadingly touting that the Company was addressing

21 safety issues in its SEC filings.

22        115.     The Individual Defendants were made aware of, or should have been
23 aware of, the causal link between hurricanes and wildfires caused by T&D

24 components. In 2020, researchers from the University of Hawaii and the East-West

25 Center published a report in the American Meteorological Society Journal a report

26 entitled “Fire and Rain: The Legacy of Hurricane Lane in Hawai’i.” The report found

27 that the fires on Maui and O’ahu following Hurricane Lane was not caused by

28
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 1 thunderstorms and lightning. Instead, the Honolulu Fire Department found that the

 2 O’ahu fire was caused by power lines arcing in Hurricane Lane’s high winds.

 3        116.     Moreover, the Company knew that other utility companies had a
 4 power shutoff system to protect against wildfires in high winds yet failed to

 5 implement the same. San Diego Gas & Electric implemented such a system over a

 6 decade ago to prevent causing wildfires, PG&E also implemented a power shutoff

 7 system in 2019 following a fire its equipment caused, and the California PUC opened

 8 Order Instituting Rulemaking (OIR) 18-12-005 to examine its rules allowing electric

 9 utility companies to shutoff power lines in the event of dangerous conditions.

10 Despite this, the Individual Defendants failed to cause the Company to implement the

11 same power shutoff systems which could have prevented the devastating wildfire in

12 August 2023.

13        117.     The Company announced in 2019 that they would be using drones to
14 assess fire hazards in drought-prone areas of West Maui. The Individual Defendants

15 had failed to invest sufficiently in its wildfire-prevention programs and in

16 maintaining its T&D components and instead opted to use drones for wildfire

17 identification, as opposed to prevention, as reflected by this announcement.

18        118.     The Individual Defendants knew, or should have known, that the
19 Company must follow various standards to protect the public from the consequences

20 that follow from vegetation coming into contact with its T&D components, pursuant

21 to HRS § 6-73-11. Accordingly, the Company was required to maintain the areas

22 surrounding and adjacent to certain of its T&D components and ensure sufficient

23 clearance around its power lines. In addition, HRS § 6-73-14 provides that any

24 maintenance issues not specifically addressed by HRS § 6-73-11 “should be done in

25 accordance with accepted good practice for the given local conditions known at the

26 time by those responsible for the construction or maintenance.” Despite being under

27 an obligation to conform with these minimum safety standards, the Individual

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 1 Defendants failed to cause the Company to comply with those standards thus placing

 2 the public at a heightened risk of wildfires caused by the Company’s T&D

 3 components.

 4        119.     The Individual Defendants knew that in the days leading up to the
 5 August 2023 wildfire caused by them that Maui had been in a drought. The

 6 Individual Defendants also knew that on August 7, 2023, a red flag warning was

 7 issued as high wind gusts of up to 60mph were forecast across Hawaii and that,

 8 coupled with the dry conditions could create critical fire conditions. Despite this, the

 9 Individual Defendants failed to shut off power in advance of August 8, 2023.

10        120.     At all relevant times, the Individual Defendants knew the above facts,
11 or at least should have known of them in the exercise of prudent business judgement,

12 yet failed to maintain adequate systems, controls, and programs to prevent wildfires,

13 failed to adequately maintain their T&D components, failed to comply with or cause

14 the Company to comply with minimum safety standards, and failed to prevent the

15 destructive August 2023 wildfire in Maui. Meanwhile, the Individual Defendants

16 made false and/or misleading statements and/or failed to disclose that: (i) Hawaiian

17 Electric’s wildfire prevention and safety protocols and procedures were inadequate to

18 meet the challenges for which they were ostensibly designed; (ii) accordingly,

19 despite knowing the degree of risk that wildfires posed to Maui, the Company’s

20 inadequate safety protocols and procedures placed Maui at a heightened risk of

21 devastating wildfires; and (iii) as a result, the Company’s public statements were

22 materially false and misleading at all relevant times.

23                                     AFTERMATH
24 The Individual Defendants Continued

25 To Breach their Fiduciary Duties

26        121.     Following the Maui wildfire caused by Hawaiian Electric, the
27 Individual Defendants continued to breach their fiduciary duties to the Company. In

28
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 1 particular, the Individual Defendants caused the Company to remove the fallen and

 2 damaged T&D components from nearby a power station in Lahaina from around

 3 August 12, 2023.

 4           122.    At the time the T&D components were being removed, the Individual
 5 Defendants knew that investigators from the Bureau of Alcohol, Tobacco, Firearms,

 6 and Explosives (“ATF”) had not yet arrived to conduct their investigation into the

 7 origin and cause of the wildfire in the area. Moreover, the Individual Defendants

 8 knew, or should have known, that, according to the National Fire Protection

 9 Association, “the integrity of a fire scene needs to be preserved” and that “[e]vidence

10 should not be handled or removed without documentation.”

11           123.    This failure to preserve evidence was a direct breach of their fiduciary
12 duties because the Individual Defendants knew that failing to preserve evidence

13 could subject Hawaiian Electric to fines and penalties as the Company had discussed

14 in 2022 the $15 billion settlement by California utility company PG&E for starting a

15 wildfire and failing to preserve the evidence. 4

16 The Impact of the Wildfire on Maui

17           124.    The wildfire caused by Hawaiian Electric had a devastating impact on
18 Maui and its residents. As noted, supra, the wildfire led to at least 97 deaths and

19 between $4 billion to $6 billion in losses from property damage and business

20 interruption. It was reported that the residents of Lahaina had a matter of mere

21

22
     4
23           See In the Matter of the Application of Hawaiian Electric Company, Inc., et
24 al., Docket No. 2022-0135, Application at 23,

25 https://dms.puc.hawaii.gov/dms/DocumentViewer?pid=A1001001A22G01B11309C

26 00934 (last accessed Dec. 7, 2023).

27

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 1 moments to escape the fires which led to many jumping into the ocean and drowning,

 2 with others unable to escape and perishing in the fires.

 3        125.     At the time of filing this complaint, the town of Lahaina remains
 4 closed to the public and West Maui accommodations started to reopen to visitors

 5 slowly under a phased plan, as announced by the Hawaii Tourism Authority.

 6                            DAMAGE TO THE COMPANY
 7 Securities Class Action

 8        126.     On August 24, 2023, a securities class action complaint was filed in
 9 the United States District Court for the Northern District of California against the

10 Company and Defendants Lau, Seu, Hazelton, and Ito. The complaint alleges

11 violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the

12 “Exchange Act”) and Rule 10b-5 promulgated thereunder, in the case captioned:

13 Bhangal v. Hawaiian Electric Industries, Inc., et al., Case No. 3:23-cv-04332 (N.D.

14 Cal.) (“Securities Class Action”).

15        127.     As a result of the wrongs complained of herein, the Individual
16 Defendants have subjected the Company to the significant cost of defending itself

17 and certain of the Company’s officers.          The Company will continue to incur
18 significant sums in relation to the Securities Class Action and any liability or

19 settlement that results.

20 Maui County Lawsuit

21        128.     On August 24, 2023, the County of Maui filed a civil complaint in
22 this Court against the Company, among other electric utility companies, for

23 negligence, gross negligence, nuisance, ultrahazardous activity, injunctive relief, and

24 trespass seeking damages for the costs that the County of Maui incurred as a result of

25 the August 2023 wildfires in the case captioned: County of Maui v. Maui Electric

26 Company, et al., 2CCV-XX-XXXXXXX (“Maui Action”).

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 1           129.      As a result of the wrongs complained of herein, the Individual
 2 Defendants have subjected the Company to the significant cost of defending itself

 3 against this Maui Action. The Company will continue to incur significant sums in

 4 relation to the Maui Action and any liability or settlement that results.

 5 Regulatory and/or Legal Penalties

 6           130.      It has been estimated by Capstone that following the August 2023
 7 wildfire caused by Hawaiian Electric, the Company faces potential liability in excess

 8 of $4.9 billion, up from a previous estimate of $3.9 billion. 5

 9           131.      The Company also failed to preserve the wildfire evidence before
10 investigators from the ATF had arrived, in possible violation of national guidelines.

11 As a result, and as the Individual Defendants knew, removing evidence from the site

12 of the wildfire could lead to massive fines being imposed against the Company, as

13 previously happened with PG&E and SoCal Edison.

14 Regulatory and Governmental Investigations

15           132.      As a result of the Individual Defendants’ failures to maintain adequate
16 safety protocols and make needed improvements to its T&D components, the

17 Company is now subject to regulatory and governmental investigations and actions.

18           133.      On August 31, 2023, it was announced that a governmental
19 investigation had been opened by U.S. Representatives Cathy McMorris Rodgers (R-

20

21
     5
22           Hawaiian Electric: Revised Model Shows $4.9 in Potential Liabilities from
23 Settlement; Maui County Increasingly Likely to Share Burden, Capstone (Aug. 30,

24 2023),           https://capstonedc.com/wp-content/uploads/2023/08/20230830-Hawaiian-
25 Electric-Revised-Model-Shows-4.9B-in-Potential-Liabilities-from-Settlement.pdf

26 (last accessed Dec. 7, 2023).

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 1 WA, Chair of the Energy and Commerce Committee), Jeff Duncan (R-SC, Chair of

 2 the Energy, Climate, and Grid Security Subcommittee), and Morgan Griffith (R-VA,

 3 Chair of the Oversight and Investigations Subcommittee).

 4        134.     The Company may also be subject to SEC investigation and action as
 5 a result of the false and misleading statements and/or omissions made in the

 6 Company’s public filings.

 7        135.     As a result of the actual and potential investigations and actions, the
 8 Company will have to expend significant sums on complying with the investigations,

 9 defending itself and certain of the Individual Defendants, and on any penalties or

10 fines that may result.

11 Unjust Compensation

12        136.     At all relevant times, the Company paid lucrative compensation to
13 each of the Individual Defendants, totaling over $50.4 million during the Relevant

14 Period. The Company paid the Individual Defendants in connection with their

15 respective roles as officers and/or directors of the Company, as follows:

16

17                                  TOTAL COMPENSATION ($)
18   Defendant              2019           2020             2021             2022
19   Seu           -                  2,465,166        2,929,665        3,811,515
     Hazelton      1,753,663          1,877,488        2,442,618        1,245,484
20   Sekimura      1,592,036          1,807,150        1,419,571        910,425
21   Kimura        -                  -                944,402          1,514,176
     Ajello        -                  89,471           108,500          125,500
22   Johns         116,671            175,603          184,000          201,750
23   Fargo         211,000            285,008          327,500          350,000
     Connors       148,832            186,500          189,500          215,000
24
     Flores        -                  -                105,267          232,113
25   Fowler        209,720            209,500          212,500          240,000
26
     Kane          116,283            189,500          191,000          262,333
     Scilacci      157,870            196,500          198,000          231,500
27   Dahl          194,128            203,066          211,000          241,500
28
                                             47
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 1   Lau           4,902,901          5,108,212        5,933,523       -
 2   Ito           -                  -                -               815,752
     Pakkala       -                  81,085           101,000         122,378
 3   Taniguchi     -                  -                84,299          122,378
 4   Russell       212,500            218,000          220,000         252,000
     Burke         104,883            108,500          108,500         125,500
 5   Powell        148,832            186,500          150,815         -
 6   Zlotnicka     -                  197,932          32,225          -
     Annual        9,720,487          13,585,181       16,093,885      11,019,304
 7
     Total
 8   Relevant
     Period                                   $50,418,857
 9
     Total
10

11        137.     Accordingly, as part of their respective roles, the Individual
12 Defendants were required to, among other things, exercise due care and diligence in

13 the management and administration of the affairs of the Company, act ethically and

14 in compliance with all laws and regulations, maintain adequate internal controls, and

15 conduct business in a fair and transparent manner. Further, each of the Individual

16 Defendants had additional duties and responsibilities owed to the Company by virtue

17 of their executive, directorial and/or committee roles, as described infra, for which

18 they were compensated for.

19        138.     However, the Individual Defendants failed to carry out their duties
20 adequately or at all, causing harm to the Company, as alleged herein. Because the

21 Individual Defendants failed to carry out their respective duties, the compensation

22 they received during the Relevant Period was excessive and undeserved. As such,

23 the Individual Defendants were unjustly enriched to the detriment of the Company.

24 Additional Damages

25        139.     In addition to the damages specified above, the Company will also
26 suffer further losses in relation to any internal investigations and amounts paid to

27 lawyers, accountants, and investigators in connection thereto.

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 1        140.     The Company has also been named in numerous other civil lawsuits
 2 in the wake of the wildfires and is now subject to the costs of defending itself and

 3 any liability or settlement that results, due to the Individual Defendants wrongdoing.

 4        141.     The Company will also suffer losses in relation to the Individual
 5 Defendants’ failure to maintain adequate internal controls, including the expense

 6 involved with implementing and maintaining improved internal controls.

 7        142.     The Company has also suffered, and will continue to suffer, a loss of
 8 reputation as a direct and proximate result of the Individual Defendants’ misconduct

 9 which will plague the Company’s share price going forward.

10        143.     Moreover, on October 2, 2023, the Company revealed in a filing to
11 the PUC that it had only $165 million in annual general liability insurance and $25

12 million in professional liability insurance which would cover only a small fraction of

13 the potential liability that the Company faces from the above-referenced legal and

14 regulatory actions. Thus, the Company will be unable to rely on insurance coverage

15 for the majority of damages and may have to expend significant sums from its own

16 pocket, thereby further damaging the Company.

17                           CORPORATE GOVERNANCE
18 Code of Conduct

19        144.     At all relevant times, the Company had in place its Code of Conduct
20 which applied to the “Employees, Officers and Directors” of the Company. The Code

21 of Conduct describes the Company’s “core values, which are the fundamental

22 principles that guide the conduct of [the] business.” The Code of Conduct requires

23 that everyone “to whom our Code applies must take the time to read, understand and

24 apply the provisions of our Code and report any concerns.”

25        145.     The Code of Conduct further provides that the “Board of Directors
26 and management also have a responsibility to maintain a company culture based on

27 integrity and compliance with all laws […].”

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 1         146.      In a section entitled “OUR SHARED RESPONSIBILITY AND
 2 COMMITMENT,” the Code of Conduct states:

 3         Each of us has a duty to understand a live by our Code of Conduct
 4
           (“Code”) and to stand by our high standard of ethics. This commitment
           is our shared responsibility and our success depends on the important
 5         decisions we make each day to uphold these obligations.
 6
           147.      In the same section, the Code of Conduct describes its core values,
 7
     which include “put[ting] safety first for our teammates and community. We take
 8
     responsibility for our personal safety AND the safety of our team,” and “[w]e care
 9
     about our teammates. We care about our community and everyone in it. We care
10
     about Hawai’i and its future. This means we will work together, treat each other with
11
     respect and dignity, take care of our environment, and give back to our
12
     communities.”
13
           148.      The Code of Conduct further emphasizes the importance of acting
14
     with integrity and makes all employees, officers, and directors accountable for,
15
     among other things: (i) “Following all laws and regulations and all Company policies
16
     and procedures;” (ii) Being truthful, fair, transparent, responsible, and accurate with
17
     customers, regulators, suppliers, shareholders, and other teammates;” (iii) “Protecting
18
     our reputation as a trusted local company;” and (iv) “Reporting concerns and
19
     violations immediately.”
20
           149.      The Code of Conduct also provides that “[o]ne of our responsibilities
21
     under the Code is being aware of and addressing all types of risk that affect our work,
22
     such as business risk, compliance risk, and reputation risk.”
23
           150.      In a section entitled “CODE OF ETHICS FOR SENIOR
24
     FINANCIAL OFFICERS,” the Code of Conduct states:
25
           Compliance with Laws, Rules and Regulations
26

27         As Senior Financial Officers, you must not only comply with applicable
           laws, rules and regulations, you also have leadership responsibilities
28
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 1        with respect to demonstrating honesty and high ethical standards,
 2
          including ethical handling of actual or apparent conflicts of interest
          between personal and professional relationships, fostering a work
 3        environment that encourages employees to raise concerns and promptly
 4
          addressing employee compliance concerns identified by you.

 5        Disclosures in Periodic Reports and Other Public Communications
 6
          As a public company, HEI is required to file various periodic reports
 7        with the U.S. Securities and Exchange Commission (“SEC”). It is
 8        Company policy to make full, fair, accurate, timely and understandable
          disclosure in compliance with all applicable laws, rules and regulations
 9        in the reports and documents that HEI files with or submits to the SEC
10        and in other public communications made by HEI or its subsidiaries.
          The Company’s Senior Financial Officers are expected to use their best
11        efforts to perform their duties in a manner intended to implement this
12        policy.

13        151.       Moreover, the Code of Conduct emphasizes the importance of
14 adhering to all legal obligations, which includes maintaining accurate books and

15 records and further emphasizes the importance of reporting violations of the Code of

16 Conduct – a failure to do so could in itself by a violation of the Code of Conduct.

17 Audit Committee Charter

18        152.       The Audit & Risk Committee Charter was in place at all relevant
19 times and sets forth additional responsibilities on the members of the Audit & Risk

20 Committee (“Audit Committee”) – consisting of Defendants Connors, Flores, and

21 Scilacci.     Such additional duties include assisting the Board oversight of (i) the
22 integrity of the Company’s financial statements; (ii) the Company’s compliance with

23 legal and regulatory requirements; (iii) risk management and compliance systems and

24 structure; and (iv) the internal audit function.

25        153.       More specifically, the Audit & Risk Committee Charter states that the
26 Audit Committee shall have the responsibility and authority to, inter alia:

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 1         [] Review with management and the independent auditor major issues as
 2
           to the adequacy of the Company’s internal controls and any special audit
           steps adopted and remediation efforts undertaken in light of material
 3         control deficiencies and elicit recommendations for the improvement of
 4
           such internal controls.

 5         [] Oversee the enterprise risk management program of the Company,
 6         including by (a) reviewing and discussing the Company's major
           financial risk exposures and the steps management has taken to monitor
 7         and control such exposures, (b) discussing policies with respect to risk
 8         assessment and risk management, including the guidelines and policies
           governing the process by which risk assessment and risk management is
 9         undertaken, and (c) periodically reporting to the Board the Committee's
10         discussion and findings regarding risk oversight so the entire Board can
           be responsive to changes in the Company's risk profile.
11

12         [] Periodically review the Company's code of conduct (the "Code") and
           oversee the Company's program and procedures to monitor compliance
13         with the Code, including meeting with the Compliance Officer to
14         discuss potential Code violations that have been reported and the results
           of the Code compliance program and recommending to the Board
15         proposed revisions to the Code.
16
           154.     The Audit & Risk Committee Charter also provides that the
17
     “Committee may conduct or authorize investigations into or studies of matters within
18
     the Committee’s scope of responsibilities.”
19
                      DUTIES OF THE DIRECTOR DEFENDANTS
20
           155.     As members of the Board, the Director Defendants were held to the
21
     highest standards of honesty and integrity and charged with overseeing the
22
     Company’s business practices and policies and assuring the integrity of its financial
23
     and business records.
24
           156.     The conduct of the Director Defendants complained of herein
25
     involves a knowing and culpable violation of their obligations as directors and
26
     officers of the Company, the absence of good faith on their part, and a reckless
27

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 1 disregard for their duties to the Company and its investors that the Director

 2 Defendants were aware posed a risk of serious injury to the Company.

 3        157.         By reason of their positions as officers and/or directors of the
 4 Company, and because of their ability to control the business and corporate affairs of

 5 the Company, the Director Defendants owed the Company and its investors the

 6 fiduciary obligations of trust, loyalty, and good faith. The obligations required the

 7 Director Defendants to use their utmost abilities to control and manage the Company

 8 in an honest and lawful manner. The Director Defendants were and are required to

 9 act in furtherance of the best interests of the Company and its investors.

10        158.         Each director of the Company owes to the Company and its investors
11 the fiduciary duty to exercise loyalty, good faith, and diligence in the administration

12 of the affairs of the Company and in the use and preservation of its property and

13 assets.   In addition, as officers and/or directors of a publicly held company, the
14 Director Defendants had a duty to promptly disseminate accurate and truthful

15 information with regard to the Company’s operations, finances, and financial

16 condition, as well as present and future business prospects, so that the market price of

17 the Company’s stock would be based on truthful and accurate information.

18        159.         To discharge their duties, the officers and directors of the Company
19 were required to exercise reasonable and prudent supervision over the management,

20 policies, practices, and controls of the affairs of the Company. By virtue of such

21 duties, the officers and directors of the Company were required to, among other

22 things:

23               (a)      ensure that the Company complied with its legal obligations and
24        requirements, including acting only within the scope of its legal authority and
25        disseminating truthful and accurate statements to the SEC and investing
26        public;
27               (b)      conduct the affairs of the Company in an efficient, businesslike
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 1        manner so as to make it possible to provide the highest quality performance of
 2        its business, to avoid wasting the Company’s assets, and to maximize the value
 3        of the Company’s stock;
 4               (c)       properly and accurately guide investors and analysts as to the true
 5        financial condition of the Company at any given time, including making
 6        accurate statements about the Company’s business prospects, and ensuring that
 7        the Company maintained an adequate system of financial controls such that the
 8        Company’s financial reporting would be true and accurate at all times;
 9               (d)       remain informed as to how the Company conducted its
10        operations, and, upon receipt of notice or information of imprudent or unsound
11        conditions or practices, make reasonable inquiries in connection therewith,
12        take steps to correct such conditions or practices, and make such disclosures as
13        necessary to comply with federal and state securities laws;
14               (e)       ensure that the Company was operated in a diligent, honest, and
15        prudent manner in compliance with all applicable federal, state, and local laws,
16        and rules and regulations; and
17               (f)       ensure that all decisions were the product of independent business
18        judgment and not the result of outside influences or entrenchment motives.
19        160.         Each Director Defendant, by virtue of his or her position as a director
20 and/or officer, owed to the Company and to its shareholders the fiduciary duties of

21 loyalty, good faith, and the exercise of due care and diligence in the management and

22 administration of the affairs of the Company, as well as in the use and preservation of

23 its property and assets. The conduct of the Director Defendants complained of herein

24 involves a knowing and culpable violation of their obligations as directors and

25 officers of the Company, the absence of good faith on their part, and a reckless

26 disregard for their duties to the Company and its shareholders that the Director

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 1 Defendants were aware, or should have been aware, posed a risk of serious injury to

 2 the Company.

 3        161.     The Director Defendants breached their duties of loyalty and good
 4 faith by causing the Company to issue false and misleading statements concerning

 5 the financial condition of the Company. As a result, the Company has expended, and

 6 will continue to expend, significant sums of money related to investigations and

 7 lawsuits and to structure settlements to resolve them, as detailed supra.

 8            DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS
 9        162.     Plaintiff brings this action derivatively in the right and for the benefit
10 of the Company to redress injuries suffered and to be suffered as a direct and

11 proximate result of the breaches of fiduciary duties and gross mismanagement by the

12 Director Defendants.

13        163.     Plaintiff will adequately and fairly represent the interests of the
14 Company and its shareholders in enforcing and prosecuting its rights and has retained

15 counsel competent and experienced in derivative litigation.

16        164.     Plaintiff is a current owner of the Company stock and has
17 continuously been an owner of Company stock during all times relevant to the

18 Director Defendants’ wrongful course of conduct alleged herein.                  Plaintiff
19 understands his obligation to hold stock throughout the duration of this action and is

20 prepared to do so.

21        165.     During the illegal and wrongful course of conduct at the Company
22 and through the present, the Board consisted of the Director Defendants. Because of

23 the facts set forth throughout this Complaint, demand on the Company Board to

24 institute this action is not necessary because such a demand would have been a futile

25 and useless act.

26        166.     At the time this derivative lawsuit was commenced, Hawaiian Electric
27 Industries, Inc.’s Board consisted of the following seven directors: Fargo, Seu,

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 1 Connors, Flores, Fowler, Kane, and Scilacci (the “HEI Directors”). The Board of

 2 Directors of Hawaiian Electric Company, Inc. consisted of the following six

 3 directors: Johns, Kimura, Ajello, Kip, Pakkala, and Taniguchi (the “HECO

 4 Directors”) (together, the “Director Defendants”). All directors served on the Boards

 5 during the period during which the Companies engaged in, authorized, or ignored the

 6 wrongdoing alleged in this Complaint. Accordingly, Plaintiff must show that a

 7 majority of each Board, i.e., four (4) of the HEI Directors, and three (3) of the HECO

 8 Directors, cannot exercise independent objective judgment about whether to bring

 9 this action or whether to vigorously prosecute it.

10        167.     The Director Defendants either knew or should have known of the
11 false and misleading statements that were issued on the Company’s behalf and took

12 no steps in a good faith effort to prevent or remedy that situation.

13        168.     The Director Defendants (or at the very least a majority of them)
14 cannot exercise independent objective judgment about whether to bring this action or

15 whether to vigorously prosecute this action. For the reasons that follow, and for

16 reasons detailed elsewhere in this complaint, Plaintiff has not made (and should be

17 excused from making) a pre-filing demand on the Board to initiate this action

18 because making a demand would be a futile and useless act.

19        169.     Each of the Director Defendants approved and/or permitted the
20 wrongs alleged herein to have occurred and participated in efforts to conceal or

21 disguise those wrongs from the Company’s stockholders or recklessly and/or with

22 gross negligence disregarded the wrongs complained of herein and are therefore not

23 disinterested parties.

24        170.     Each of the Director Defendants authorized and/or permitted the false
25 statements to be disseminated directly to the public and made available and

26 distributed to shareholders, authorized and/or permitted the issuance of various false

27 and misleading statements, and are principal beneficiaries of the wrongdoing alleged

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 1 herein, and thus, could not fairly and fully prosecute such a suit even if they

 2 instituted it.

 3         171.     Demand is also futile because all Director Defendants of both
 4 Companies acted in bad faith and breached their duty of loyalty to the Companies by

 5 causing the Companies to move evidence about the Maui Fire, thus failing to

 6 preserve key evidence in its original location so it could be viewed and analyzed by

 7 the ATF. As demonstrated in detail supra, the Individual Defendants caused the

 8 Company to move utility poles, transformers, and other key evidence to a warehouse

 9 before ATF investigators could arrive on the scene.            This conduct impeded
10 investigators’ ability to view the evidence in its original location, unadulterated. The

11 misconduct and evidence spoliation will likely result in substantial fines and

12 penalties being imposed on the Companies. Breaches of the duties of good faith and

13 loyalty cannot be indemnified. As a result, the Director Defendants of both

14 Companies face a substantial likelihood of personal liability for breaching such

15 duties. Demand as to all Director Defendants is thus futile.

16         172.     The Director Defendants cannot consider a demand because (i) their
17 decision to operate Hawaiian Electric in violation of the law is not a protected

18 business decision and (ii) they all face a substantial likelihood of liability for

19 breaching their duties of loyalty and good faith.       These defendants were either
20 informed of Hawaiian Electric’s deteriorating and dangerous electric infrastructure

21 and failed to take action or are consciously violating their duty to stay informed

22 about the core business of Hawaiian Electric. Such a decision could not have been

23 an action taken in good faith and is accordingly not protected by the business

24 judgment rule. Furthermore, the conscious failure of Defendants to act in the face of

25 the overwhelming number of warnings is a breach of the duties of care and loyalty.

26 This breach subjects them to a substantial likelihood of liability. Since demand on

27 the majority of the Boards is futile, demand is excused.

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 1        173.     Despite the Individual Defendants having knowledge of the history of
 2 their own misconduct and mismanagement, the current Boards have failed and

 3 refused to seek recovery for Hawaiian Electric for any of the misconduct alleged

 4 herein.

 5        174.     Hawaiian Electric’s directors and top officers pocketed millions of
 6 dollars in salaries, bonuses, and directors’ fees, further enriching themselves at the

 7 expense of the Companies to which they owe fiduciary duties of good faith, honesty,

 8 and loyalty. The Companies’ leadership made an active decision to divert money

 9 necessary for safety and operational protocols towards other purposes and at the

10 same time approved bonus payments and developed a corporate culture that placed

11 short-term economic gain over long-term profitability. The Individual Defendants

12 and the Boards of both Companies have caused irreparable financial and reputational

13 harm to each Company.       The directors have for years consciously failed to take
14 responsibility for safeguarding the public against wildfires caused by the Company’s

15 electrical equipment. Thus, neither of the Boards could exercise independent

16 objective judgment in deciding whether to bring this action or to vigorously

17 prosecute the claims alleged herein.

18                         THE HEI DIRECTORS ARE
19
                     NOT INDEPENDENT OR DISINTERESTED

20 Defendant Seu

21
          175.     Defendant Seu not disinterested or independent, and therefore, is
22
     incapable of considering demand because he, as President and CEO, is an employee
23
     of the Company who derives substantially all of his income from his employment
24
     with Hawaiian Electric, making him not independent. As CEO, Defendant Seu fails
25
     both the NYSE’s bright-line independence test and the Company’s own Director
26
     Independence Standards, thus Defendant Seu cannot be considered independent, as
27
     admitted by the Company in its 2023 Proxy Statement filed on Schedule DEF 14A
28
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 1 with the SEC. As such, Defendant Seu cannot independently consider any demand to

 2 sue himself for breaching his fiduciary duties to the Company, because that would

 3 expose him to liability and threaten his livelihood.

 4        176.     In addition, Defendant Seu receives lucrative compensation in
 5 connection with his employment with Hawaiian Electric, having received in excess

 6 of $3.8 million in 2022 and in excess of $9.1 million during the Relevant Period.

 7 Accordingly, Defendant Seu is not independent from Defendants Fargo, Flores,

 8 Fowler, and Kane as they comprise the Compensation & Human Capital

 9 Management Committee (“Compensation Committee”) and are responsible for

10 evaluating and determining the compensation of executive compensation and

11 applicable benefits, including that of Defendant Seu. Because of his status as an

12 inside director, and the concomitant substantial compensation he receives, Defendant

13 Seu could not consider a demand adverse to the other Director Defendants serving on

14 the Compensation Committee who are responsible for his financial future.

15        177.     Because of Defendant Seu’s participation in the gross dereliction of
16 fiduciary duties, and breaches of the duties of due care, good faith, and loyalty,

17 Defendant Seu is unable to comply with his fiduciary duties and prosecute this

18 action. Defendant Seu’s in a position of irreconcilable conflict of interest in terms of

19 the prosecution of this action and defending himself/herself in the securities fraud

20 class action lawsuit Bhangal v. Hawaiian Electric Industries, Inc. 3:23cv04332,

21 brought under the Securities Exchange Act of 1934 (the “Securities Class Action”).

22        178.     Defendant Seu has served as a Company director since 2022. As a
23 director, Defendant Seu was required to, among other things: (i) ensure that the

24 Company complied with its legal and regulatory obligations and requirements; (ii)

25 properly and accurately guide investors and analysts as to the true financial condition

26 of the Company at any given time; (iii) remain informed as to how the Company

27 conducted its operations, make reasonable inquiries, and take steps to correct any

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 1 improper conditions or practices; and (iv) ensure the Company was operated in a

 2 diligent, honest, and prudent manner. Despite this, Defendant Seu failed to fulfil

 3 these duties by making and/or permitting the false and misleading statements to be

 4 made, not correcting those statements, and by permitting or causing the Company to

 5 fail to maintain adequate controls and wildfire prevention strategies and systems.

 6        179.      As a trusted Company director and senior executive officer,
 7 Defendant Seu conducted little, if any, oversight of the scheme to cause the Company

 8 to make false and misleading statements, consciously disregarded his duties to

 9 monitor such controls over reporting and engagement in the scheme, and consciously

10 disregarded his duties to protect corporate assets.

11        180.      In addition, Defendant Seu signed, and thus personally made the false
12 and misleading statements contained in the 2019, 2020, 2021, and 2022 10-K’s and

13 the Quarterly Reports on Form 10-Q as alleged, supra. For this reason, Defendant

14 Seu breached his fiduciary duties and faces and substantial likelihood of liability

15 therefor.

16        181.      Defendant Seu solicited the 2022 and 2023 Proxy Statements
17 containing the false and misleading statements and was elected to the Board and had

18 his executive compensation approved as a result. Consequently, Defendant Seu

19 breached his fiduciary duties and faces a substantial likelihood of liability therefor.

20        182.      According to the Company’s 2023 Proxy Statement and website,
21 Defendant Seu possesses expertise in the “Utility/Energy Industry,” having worked at

22 Hawaiian Electric since 2010 and served as a director at Edison Electric Institute and

23 the Electric Power Research Institute. As a result, Defendant Seu knew the hazards

24 and risks inherent to the energy sector and thus posed by Hawaiian Electric. Despite

25 this, Defendant Seu failed to ensure that the Company maintained its T&D

26 components properly, complied with minimum safety standards, engaged in wildfire

27 prevention, and that the Company operated in a safe manner. As a result of his

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 1 failures as alleged herein, despite his advanced knowledge and expertise, Defendant

 2 Seu faces a substantial likelihood of liability.

 3         183.     Defendant Seu is neither independent nor disinterested. Any demand
 4 upon Defendant Seu is futile and, thus, excused.

 5 Defendant Fargo

 6         184.     Defendant Fargo has served as a Company director since 2005. As a
 7 director, Defendant Fargo was required to, among other things: (i) ensure that the

 8 Company complied with its legal and regulatory obligations and requirements; (ii)

 9 properly and accurately guide investors and analysts as to the true financial condition

10 of the Company at any given time; (iii) remain informed as to how the Company

11 conducted its operations, make reasonable inquiries, and take steps to correct any

12 improper conditions or practices; and (iv) ensure the Company was operated in a

13 diligent, honest, and prudent manner. Despite this, Defendant Fargo failed to fulfil

14 these duties by making and/or permitting the false and misleading statements to be

15 made, not correcting those statements, and by permitting or causing the Company to

16 fail to maintain adequate controls and wildfire prevention strategies and systems.

17         185.     As a trusted Company director, Defendant Fargo conducted little, if
18 any, oversight of the scheme to cause the Company to make false and misleading

19 statements, consciously disregarded his duties to monitor such controls over

20 reporting and engagement in the scheme, and consciously disregarded his duties to

21 protect corporate assets.

22         186.     In addition, Defendant Fargo signed, and thus personally made the
23 false and misleading statements contained in the 2018, 2019, 2020, 2021, and 2022

24 10-K’s. For this reason, Defendant Fargo breached his fiduciary duties and faces and

25 substantial likelihood of liability therefor.

26         187.     Defendant Fargo solicited the 2019, 2020, 2021, 2022, and 2023
27 Proxy Statements containing the false and misleading statements and was elected to

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 1 the Board as a result. Consequently, Defendant Fargo breached his fiduciary duties

 2 and faces a substantial likelihood of liability therefor.

 3        188.      In connection with his role as a Company director, Defendant Fargo
 4 receives substantial compensation. In 2022, Defendant Fargo received a total

 5 compensation package in excess of $350,000, as detailed supra. With such lucrative

 6 compensation, Defendant Fargo cannot reasonably and objectively consider a

 7 demand to sue the Board who control his continued compensation, including himself.

 8        189.      Defendant Fargo also has a longstanding relationship with Defendant
 9 Ajello. Defendant Fargo currently serves as a Senior Advisor at SKAI Ventures.

10 Meanwhile, Defendant Ajello has served on the Board of SKAI Ventures since 2015.

11 Thus, Defendants Fargo and Ajello have worked together and built a business

12 relationship while at SKAI Ventures. As a result of the foregoing, Defendants Fargo

13 and Ajello are incapable of considering a demand to sue each other.

14        190.      Defendant Fargo is neither independent nor disinterested. Any
15 demand upon Defendant Fargo is futile and, thus, excused.

16 Defendant Connors

17        191.      Defendant Connors has served as a Company director since 2019. As
18 a director, Defendant Connors was required to, among other things: (i) ensure that the

19 Company complied with its legal and regulatory obligations and requirements; (ii)

20 properly and accurately guide investors and analysts as to the true financial condition

21 of the Company at any given time; (iii) remain informed as to how the Company

22 conducted its operations, make reasonable inquiries, and take steps to correct any

23 improper conditions or practices; and (iv) ensure the Company was operated in a

24 diligent, honest, and prudent manner. Despite this, Defendant Connors failed to fulfil

25 these duties by making and/or permitting the false and misleading statements to be

26 made, not correcting those statements, and by permitting or causing the Company to

27 fail to maintain adequate controls and wildfire prevention strategies and systems.

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 1         192.     As a trusted Company director, Defendant Connors conducted little, if
 2 any, oversight of the scheme to cause the Company to make false and misleading

 3 statements, consciously disregarded her duties to monitor such controls over

 4 reporting and engagement in the scheme, and consciously disregarded her duties to

 5 protect corporate assets.

 6         193.     During the Relevant Period, Defendant Connors served as a member
 7 of HEI’s Audit Committee and had certain additional duties by virtue thereof. Such

 8 additional duties include assisting the Board oversight of (i) the integrity of the

 9 Company’s financial statements; (ii) the Company’s compliance with legal and

10 regulatory requirements; (iii) risk management and compliance systems and

11 structure; and (iv) the internal audit function. Despite this, Defendant Connors failed

12 to fulfil these additional duties by permitting the false and misleading statements to

13 be made, failing to ensure the Company’s compliance with legal and regulatory

14 safety requirements, and not identifying and addressing the risks to the Company and

15 its reputation as a result of the wrongdoing as alleged herein. Defendant Connors

16 completely abandoned her directorial and Audit Committee duties and faces a

17 substantial likelihood of liability therefor.

18         194.     In addition, Defendant Connors signed, and thus personally made the
19 false and misleading statements contained in the 2019, 2020, 2021, and 2022 10-K’s.

20 For this reason, Defendant Connors breached her fiduciary duties and faces and

21 substantial likelihood of liability therefor.

22         195.     Defendant Connors solicited the 2019, 2020, 2021, 2022, and 2023
23 Proxy Statements containing the false and misleading statements and was elected to

24 the Board as a result. Consequently, Defendant Connors breached her fiduciary

25 duties and faces a substantial likelihood of liability therefor.

26         196.     In connection with her role as a Company director, Defendant
27 Connors receives substantial compensation. In 2022, Defendant Connors received a

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 1 total compensation package in excess of $215,000, as detailed supra. With such

 2 lucrative compensation, Defendant Connors cannot reasonably and objectively

 3 consider a demand to sue the Board who control her continued compensation,

 4 including herself.

 5        197.     According to the Company’s 2023 Proxy Statement, the Company
 6 and its subsidiaries made charitable contributions to nonprofit organizations where

 7 Defendant Connors serves as executive officer. As a result, Defendant Connors is not

 8 independent as she could not reasonably consider a demand to sue the directors of the

 9 Company from which her nonprofit receives donations and risk not receiving those

10 similar contributions again in the future.

11        198.     Defendant Connors is neither independent nor disinterested. Any
12 demand upon Defendant Connors is futile and, thus, excused.

13 Defendant Flores

14        199.     Defendant Flores has served as a Company director since 2021. As a
15 director, Defendant Flores was required to, among other things: (i) ensure that the

16 Company complied with its legal and regulatory obligations and requirements; (ii)

17 properly and accurately guide investors and analysts as to the true financial condition

18 of the Company at any given time; (iii) remain informed as to how the Company

19 conducted its operations, make reasonable inquiries, and take steps to correct any

20 improper conditions or practices; and (iv) ensure the Company was operated in a

21 diligent, honest, and prudent manner. Despite this, Defendant Flores failed to fulfil

22 these duties by making and/or permitting the false and misleading statements to be

23 made, not correcting those statements, and by permitting or causing the Company to

24 fail to maintain adequate controls and wildfire prevention strategies and systems.

25        200.     As a trusted Company director, Defendant Flores conducted little, if
26 any, oversight of the scheme to cause the Company to make false and misleading

27 statements, consciously disregarded her duties to monitor such controls over

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 1 reporting and engagement in the scheme, and consciously disregarded her duties to

 2 protect corporate assets.

 3         201.     During the Relevant Period, Defendant Flores served as a member of
 4 HEI’s Audit Committee and had certain additional duties by virtue thereof. Such

 5 additional duties include assisting the Board oversight of (i) the integrity of the

 6 Company’s financial statements; (ii) the Company’s compliance with legal and

 7 regulatory requirements; (iii) risk management and compliance systems and

 8 structure; and (iv) the internal audit function. Despite this, Defendant Flores failed to

 9 fulfil these additional duties by permitting the false and misleading statements to be

10 made, failing to ensure the Company’s compliance with legal and regulatory safety

11 requirements, and not identifying and addressing the risks to the Company and its

12 reputation as a result of the wrongdoing as alleged herein. Defendant Flores

13 completely abandoned her directorial and Audit Committee duties and faces a

14 substantial likelihood of liability therefor.

15         202.     In addition, Defendant Flores signed, and thus personally made the
16 false and misleading statements contained in the 2021 and 2022 10-K’s. For this

17 reason, Defendant Flores breached her fiduciary duties and faces and substantial

18 likelihood of liability therefor.

19         203.     Defendant Flores solicited the 2022 and 2023 Proxy Statements
20 containing the false and misleading statements and was elected to the Board as a

21 result. Consequently, Defendant Flores breached her fiduciary duties and faces a

22 substantial likelihood of liability therefor.

23         204.     In connection with her role as a Company director, Defendant Flores
24 receives substantial compensation. In 2022, Defendant Flores received a total

25 compensation package in excess of $232,113, as detailed supra. With such lucrative

26 compensation, Defendant Flores cannot reasonably and objectively consider a

27 demand to sue the Board who control her continued compensation, including herself.

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 1         205.     Defendant Flores is neither independent nor disinterested. Any
 2 demand upon Defendant Flores is futile and, thus, excused.

 3 Defendant Fowler

 4         206.     Defendant Fowler has served as a Company director since 2009. As a
 5 director, Defendant Fowler was required to, among other things: (i) ensure that the

 6 Company complied with its legal and regulatory obligations and requirements; (ii)

 7 properly and accurately guide investors and analysts as to the true financial condition

 8 of the Company at any given time; (iii) remain informed as to how the Company

 9 conducted its operations, make reasonable inquiries, and take steps to correct any

10 improper conditions or practices; and (iv) ensure the Company was operated in a

11 diligent, honest, and prudent manner. Despite this, Defendant Fowler failed to fulfil

12 these duties by making and/or permitting the false and misleading statements to be

13 made, not correcting those statements, and by permitting or causing the Company to

14 fail to maintain adequate controls and wildfire prevention strategies and systems.

15        207.      As a trusted Company director, Defendant Fowler conducted little, if
16 any, oversight of the scheme to cause the Company to make false and misleading

17 statements, consciously disregarded her duties to monitor such controls over

18 reporting and engagement in the scheme, and consciously disregarded her duties to

19 protect corporate assets.

20         208.     In addition, Defendant Fowler signed, and thus personally made the
21 false and misleading statements contained in the 2018, 2019, 2020, 2021, and 2022

22 10-K’s. For this reason, Defendant Fowler breached her fiduciary duties and faces

23 and substantial likelihood of liability therefor.

24         209.     Defendant Fowler solicited the 2019, 2020, 2021, 2022, and 2023
25 Proxy Statements containing the false and misleading statements and was elected to

26 the Board as a result. Consequently, Defendant Fowler breached her fiduciary duties

27 and faces a substantial likelihood of liability therefor.

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 1        210.     In connection with her role as a Company director, Defendant Fowler
 2 receives substantial compensation. In 2022, Defendant Fowler received a total

 3 compensation package in excess of $240,000, as detailed supra. With such lucrative

 4 compensation, Defendant Fowler cannot reasonably and objectively consider a

 5 demand to sue the Board who control her continued compensation, including herself.

 6        211.     According to the Company’s 2023 Proxy Statement and website,
 7 Defendant Fowler possesses expertise in the “Utility/Energy Industry,” having

 8 previously served on the Board of Portland General Electric. As a result, Defendant

 9 Fowler knew the hazards and risks inherent to the energy sector and thus posed by

10 Hawaiian Electric. Despite this, Defendant Fowler failed to ensure that the Company

11 maintained its T&D components properly, complied with minimum safety standards,

12 engaged in wildfire prevention, and that the Company operated in a safe manner. As

13 a result of her failures as alleged herein, despite her advanced knowledge and

14 expertise, Defendant Fowler faces a substantial likelihood of liability.

15        212.     Defendant Fowler is neither independent nor disinterested. Any
16 demand upon Defendant Fowler is futile and, thus, excused.

17 Defendant Kane

18        213.     Defendant Kane has served as a Company director since 2019. As a
19 director, Defendant Kane was required to, among other things: (i) ensure that the

20 Company complied with its legal and regulatory obligations and requirements; (ii)

21 properly and accurately guide investors and analysts as to the true financial condition

22 of the Company at any given time; (iii) remain informed as to how the Company

23 conducted its operations, make reasonable inquiries, and take steps to correct any

24 improper conditions or practices; and (iv) ensure the Company was operated in a

25 diligent, honest, and prudent manner. Despite this, Defendant Kane failed to fulfil

26 these duties by making and/or permitting the false and misleading statements to be

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 1 made, not correcting those statements, and by permitting or causing the Company to

 2 fail to maintain adequate controls and wildfire prevention strategies and systems.

 3         214.     As a trusted Company director, Defendant Kane conducted little, if
 4 any, oversight of the scheme to cause the Company to make false and misleading

 5 statements, consciously disregarded his duties to monitor such controls over

 6 reporting and engagement in the scheme, and consciously disregarded his duties to

 7 protect corporate assets.

 8         215.     In addition, Defendant Kane signed, and thus personally made the
 9 false and misleading statements contained in the 2018, 2019, 2020, 2021, and 2022

10 10-K’s. For this reason, Defendant Kane breached his fiduciary duties and faces and

11 substantial likelihood of liability therefor.

12         216.     Defendant Kane solicited the 2020, 2021, 2022, and 2023 Proxy
13 Statements containing the false and misleading statements and was elected to the

14 Board as a result. Consequently, Defendant Kane breached his fiduciary duties and

15 faces a substantial likelihood of liability therefor.

16         217.     In connection with his role as a Company director, Defendant Kane
17 receives substantial compensation. In 2022, Defendant Kane received a total

18 compensation package in excess of $262,333, as detailed supra. With such lucrative

19 compensation, Defendant Kane cannot reasonably and objectively consider a demand

20 to sue the Board who control his continued compensation, including himself.

21         218.     According to the Company’s 2023 Proxy Statement, the Company
22 and its subsidiaries made charitable contributions to nonprofit organizations where

23 Defendant Kane serves as executive officer. As a result, Defendant Kane is not

24 independent as he could not reasonably consider a demand to sue the directors of the

25 Company from which his nonprofit receives donations and risk not receiving those

26 similar contributions again in the future.

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 1        219.     Defendant Kane also has a longstanding relationship with Defendant
 2 Kimura. Defendant Kane is currently a Trustee of Kamehameha Schools, having held

 3 this position since 2009. Meanwhile, Defendant Kimura presently serves on the

 4 Audit Committee of Kamehameha Schools. Thus, Defendants Kane and Kimura have

 5 worked together and built a business relationship while at Kamehameha Schools. As

 6 a result of the foregoing, Defendants Kane and Kimura are incapable of considering a

 7 demand to sue each other.

 8        220.     Defendant Kane is neither independent nor disinterested. Any demand
 9 upon Defendant Kane is futile and, thus, excused.

10 Defendant Scilacci

11        221.     Defendant Scilacci has served as a Company director since 2019. As a
12 director, Defendant Scilacci was required to, among other things: (i) ensure that the

13 Company complied with its legal and regulatory obligations and requirements; (ii)

14 properly and accurately guide investors and analysts as to the true financial condition

15 of the Company at any given time; (iii) remain informed as to how the Company

16 conducted its operations, make reasonable inquiries, and take steps to correct any

17 improper conditions or practices; and (iv) ensure the Company was operated in a

18 diligent, honest, and prudent manner. Despite this, Defendant Scilacci failed to fulfil

19 these duties by making and/or permitting the false and misleading statements to be

20 made, not correcting those statements, and by permitting or causing the Company to

21 fail to maintain adequate controls and wildfire prevention strategies and systems.

22        222.     As a trusted Company director, Defendant Scilacci conducted little, if
23 any, oversight of the scheme to cause the Company to make false and misleading

24 statements, consciously disregarded his duties to monitor such controls over

25 reporting and engagement in the scheme, and consciously disregarded his duties to

26 protect corporate assets.

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 1         223.     During the Relevant Period, Defendant Scilacci served as the Chair of
 2 HEI’s Audit Committee and had certain additional duties by virtue thereof. Such

 3 additional duties include assisting the Board oversight of (i) the integrity of the

 4 Company’s financial statements; (ii) the Company’s compliance with legal and

 5 regulatory requirements; (iii) risk management and compliance systems and

 6 structure; and (iv) the internal audit function. Despite this, Defendant Scilacci failed

 7 to fulfil these additional duties by permitting the false and misleading statements to

 8 be made, failing to ensure the Company’s compliance with legal and regulatory

 9 safety requirements, and not identifying and addressing the risks to the Company and

10 its reputation as a result of the wrongdoing as alleged herein. Defendant Scilacci

11 completely abandoned his directorial and Audit Committee duties and faces a

12 substantial likelihood of liability therefor.

13         224.     In addition, Defendant Scilacci signed, and thus personally made the
14 false and misleading statements contained in the 2019, 2020, 2021, and 10-K’s. For

15 this reason, Defendant Scilacci breached his fiduciary duties and faces and

16 substantial likelihood of liability therefor.

17         225.     Defendant Scilacci solicited the 2019, 2020, 2021, 2022, and 2023
18 Proxy Statements containing the false and misleading statements and was elected to

19 the Board as a result. Consequently, Defendant Scilacci breached his fiduciary duties

20 and faces a substantial likelihood of liability therefor.

21         226.     In connection with his role as a Company director, Defendant Scilacci
22 receives substantial compensation. In 2022, Defendant Scilacci received a total

23 compensation package in excess of $231,500, as detailed supra. With such lucrative

24 compensation, Defendant Scilacci cannot reasonably and objectively consider a

25 demand to sue the Board who control his continued compensation, including himself.

26         227.     According to the Company’s 2023 Proxy Statement and website,
27 Defendant Scilacci possesses expertise in the “Utility/Energy Industry,” having

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 1 previously held positions within Southern California Edison, including Senior Vice

 2 President and CFO. Defendant Scilacci is reputed as “one of the top CFOs in the

 3 electric utility sector.” As a result, Defendant Scilacci knew the hazards and risks

 4 inherent to the energy sector and thus posed by Hawaiian Electric. Despite this,

 5 Defendant Scilacci failed to ensure that the Company maintained its T&D

 6 components properly, complied with minimum safety standards, engaged in wildfire

 7 prevention, and that the Company operated in a safe manner. As a result of his

 8 failures as alleged herein, despite his advanced knowledge and expertise, Defendant

 9 Scilacci faces a substantial likelihood of liability.

10        228.      Defendant Scilacci is neither independent nor disinterested. Any
11 demand upon Defendant Scilacci is futile and, thus, excused.

12                             THE HECO DIRECTORS ARE
13                     NOT INDEPENDENT OR DISINTERESTED
14 Defendant Kimura

15        229.      Defendant Kimura not disinterested or independent, and therefore, is
16 incapable of considering demand because she, as President and CEO, is an employee

17 of the Company who derives substantially all of his income from his employment

18 with Hawaiian Electric, making her not independent. As CEO, Defendant Kimura

19 fails both the NYSE’s bright-line independence test and the Company’s own Director

20 Independence Standards, as admitted by the Company in Hawaiian Electric’s Exhibit

21 99.1 attached to its 2023 Annual Report.           As such, Defendant Kimura cannot
22 independently consider any demand to sue herself for breaching his fiduciary duties

23 to the Company, because that would expose her to liability and threaten his

24 livelihood.

25        230.      In addition, Defendant Kimura receives lucrative compensation in
26 connection with her employment with the Company, having received in excess of

27 $1.5 million in 2022. Accordingly, Defendant Kimura is not independent from

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 1 Defendants Fargo, Flores, Fowler, and Kane as they comprise the Compensation &

 2 Human Capital Management Committee (“Compensation Committee”) and are

 3 responsible for evaluating and determining the compensation of executive

 4 compensation and applicable benefits, including that of Defendant Kimura. Because

 5 of her status as an inside director, and the concomitant substantial compensation she

 6 receives, Defendant Kimura could not consider a demand adverse to the other

 7 Director Defendants serving on the Compensation Committee who are responsible

 8 for her financial future.

 9        231.     Defendant Kimura has served as a Company director since 2022. As a
10 director, Defendant Kimura was required to, among other things: (i) ensure that the

11 Company complied with its legal and regulatory obligations and requirements; (ii)

12 properly and accurately guide investors and analysts as to the true financial condition

13 of the Company at any given time; (iii) remain informed as to how the Company

14 conducted its operations, make reasonable inquiries, and take steps to correct any

15 improper conditions or practices; and (iv) ensure the Company was operated in a

16 diligent, honest, and prudent manner. Despite this, Defendant Kimura failed to fulfil

17 these duties by making and/or permitting the false and misleading statements to be

18 made, not correcting those statements, and by permitting or causing the Company to

19 fail to maintain adequate controls and wildfire prevention strategies and systems.

20        232.     As a trusted Company director and senior executive officer,
21 Defendant Kimura conducted little, if any, oversight of the scheme to cause the

22 Company to make false and misleading statements, consciously disregarded her

23 duties to monitor such controls over reporting and engagement in the scheme, and

24 consciously disregarded her duties to protect corporate assets.

25        233.     In addition, Defendant Kimura signed, and thus personally made the
26 false and misleading statements contained in the 2021 and 2022 10-K’s and the

27 Quarterly Reports filed on Form 10-Q as alleged, supra. For this reason, Defendant

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 1 Kimura breached her fiduciary duties and faces and substantial likelihood of liability

 2 therefor.

 3        234.     Defendant Kimura also has a longstanding relationship with
 4 Defendant Kane. Defendant Kimura presently serves on the Audit Committee of

 5 Kamehameha Schools. Meanwhile, Defendant Kane is currently a Trustee of

 6 Kamehameha Schools, having held this position since 2009. Thus, Defendants

 7 Kimura and Kane have worked together and built a business relationship while at

 8 Kamehameha Schools. As a result of the foregoing, Defendants Kimura and Kane are

 9 incapable of considering a demand to sue each other.

10        235.     Additionally, Defendant Kimura has worked at the Company since
11 2004, having held many positions over the years, thus gaining significant experience

12 and knowledge of the electric utility sector. As a result, Defendant Kimura knew the

13 hazards and risks inherent to the energy sector and thus posed by Hawaiian Electric.

14 Despite this, Defendant Kimura failed to ensure that the Company maintained its

15 T&D components properly, complied with minimum safety standards, engaged in

16 wildfire prevention, and that the Company operated in a safe manner. As a result of

17 her failures as alleged herein, despite her advanced knowledge and expertise,

18 Defendant Kimura faces a substantial likelihood of liability.

19        236.     Because of Defendant Kimura’s participation in the gross dereliction
20 of fiduciary duties, and breaches of the duties of due care, good faith, and loyalty,

21 Defendant Kimura is unable to comply with her fiduciary duties and prosecute this

22 action.

23        237.     Defendant Kimura is neither independent nor disinterested. Any
24 demand upon Defendant Kimura is futile and, thus, excused.

25 Defendant Johns

26        238.     Defendant Johns has served as a Company director since 2005 and
27 Chairman since 2020. As a director, Defendant Johns was required to, among other

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 1 things: (i) ensure that the Company complied with its legal and regulatory obligations

 2 and requirements; (ii) properly and accurately guide investors and analysts as to the

 3 true financial condition of the Company at any given time; (iii) remain informed as to

 4 how the Company conducted its operations, make reasonable inquiries, and take

 5 steps to correct any improper conditions or practices; and (iv) ensure the Company

 6 was operated in a diligent, honest, and prudent manner.        Despite this, Defendant
 7 Johns failed to fulfil these duties by making and/or permitting the false and

 8 misleading statements to be made, not correcting those statements, and by permitting

 9 or causing the Company to fail to maintain adequate controls and wildfire prevention

10 strategies and systems.

11         239.     As a trusted Company director, Defendant Johns conducted little, if
12 any, oversight of the scheme to cause the Company to make false and misleading

13 statements, consciously disregarded his duties to monitor such controls over

14 reporting and engagement in the scheme, and consciously disregarded his duties to

15 protect corporate assets.

16         240.     During the Relevant Period, Defendant Johns served as Chair of
17 HECO’s Audit Committee and had certain additional duties by virtue thereof. Such

18 additional duties include assisting the Board oversight of (i) the integrity of the

19 Company’s financial statements; (ii) the Company’s compliance with legal and

20 regulatory requirements; (iii) risk management and compliance systems and

21 structure; and (iv) the internal audit function. Despite this, Defendant Johns failed to

22 fulfil these additional duties by permitting the false and misleading statements to be

23 made, failing to ensure the Company’s compliance with legal and regulatory safety

24 requirements, and not identifying and addressing the risks to the Company and its

25 reputation as a result of the wrongdoing as alleged herein. Defendant Johns

26 completely abandoned his directorial and Audit Committee duties and faces a

27 substantial likelihood of liability therefor.

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 1        241.      In addition, Defendant Johns signed, and thus personally made the
 2 false and misleading statements contained in the 2019, 2020, 2021, and 2022 10-K’s.

 3 For this reason, Defendant Johns breached his fiduciary duties and faces and

 4 substantial likelihood of liability therefor.

 5        242.      In connection with his role as a Company director, Defendant Johns
 6 receives substantial compensation. In 2022, Defendant Johns received a total

 7 compensation package in excess of $201,000, as detailed supra. With such lucrative

 8 compensation, Defendant Johns cannot reasonably and objectively consider a

 9 demand to sue the Board who control his continued compensation, including himself.

10        243.      Defendant Johns is neither independent nor disinterested. Any
11 demand upon Defendant Johns is futile and, thus, excused.

12 Defendant Ajello

13        244.      Defendant Ajello has served as a Company director since 2020. As a
14 director, Defendant Ajello was required to, among other things: (i) ensure that the

15 Company complied with its legal and regulatory obligations and requirements; (ii)

16 properly and accurately guide investors and analysts as to the true financial condition

17 of the Company at any given time; (iii) remain informed as to how the Company

18 conducted its operations, make reasonable inquiries, and take steps to correct any

19 improper conditions or practices; and (iv) ensure the Company was operated in a

20 diligent, honest, and prudent manner. Despite this, Defendant Ajello failed to fulfil

21 these duties by making and/or permitting the false and misleading statements to be

22 made, not correcting those statements, and by permitting or causing the Company to

23 fail to maintain adequate controls and wildfire prevention strategies and systems.

24        245.      As a trusted Company director, Defendant Ajello conducted little, if
25 any, oversight of the scheme to cause the Company to make false and misleading

26 statements, consciously disregarded his duties to monitor such controls over

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 1 reporting and engagement in the scheme, and consciously disregarded his duties to

 2 protect corporate assets.

 3         246.     During the Relevant Period, Defendant Ajello served as a member of
 4 HECO’s Audit Committee and had certain additional duties by virtue thereof. Such

 5 additional duties include assisting the Board oversight of (i) the integrity of the

 6 Company’s financial statements; (ii) the Company’s compliance with legal and

 7 regulatory requirements; (iii) risk management and compliance systems and

 8 structure; and (iv) the internal audit function. Despite this, Defendant Johns failed to

 9 fulfil these additional duties by permitting the false and misleading statements to be

10 made, failing to ensure the Company’s compliance with legal and regulatory safety

11 requirements, and not identifying and addressing the risks to the Company and its

12 reputation as a result of the wrongdoing as alleged herein. Defendant Ajello

13 completely abandoned his directorial and Audit Committee duties and faces a

14 substantial likelihood of liability therefor.

15         247.     In addition, Defendant Ajello signed, and thus personally made the
16 false and misleading statements contained in the 2020, 2021, and 2022 10-K’s. For

17 this reason, Defendant Ajello breached his fiduciary duties and faces and substantial

18 likelihood of liability therefor.

19         248.     In connection with his role as a Company director, Defendant Ajello
20 receives substantial compensation. In 2022, Defendant Ajello received a total

21 compensation package of $125,500, as detailed supra. With such lucrative

22 compensation, Defendant Ajello cannot reasonably and objectively consider a

23 demand to sue the Board who control his continued compensation, including himself.

24         249.     Defendant Ajello also has a longstanding relationship with Defendant
25 Fargo. Defendant Ajello has served on the Board of SKAI Ventures since 2015.

26 Meanwhile, Defendant Fargo also currently serves as a Senior Advisor at SKAI

27 Ventures. Thus, Defendants Ajello and Fargo have worked together and built a

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 1 business relationship while at SKAI Ventures. As a result of the foregoing,

 2 Defendants Ajello and Fargo are incapable of considering a demand to sue each

 3 other.

 4          250.   Additionally, Defendant Ajello has previously served as Senior Vice
 5 President and CFO of Portland General Electric, President of Resilient Energy

 6 Solutions LLC, and held other senior roles at Reliant Energy, Inc, thus gaining

 7 significant experience within the energy utility sector. As a result, Defendant Ajello

 8 knew the hazards and risks inherent to the energy sector and thus posed by Hawaiian

 9 Electric. Despite this, Defendant Ajello failed to ensure that the Company maintained

10 its T&D components properly, complied with minimum safety standards, engaged in

11 wildfire prevention, and that the Company operated in a safe manner. As a result of

12 his failures as alleged herein, despite his advanced knowledge and expertise,

13 Defendant Ajello faces a substantial likelihood of liability.

14          251.   Defendant Ajello is neither independent nor disinterested. Any
15 demand upon Defendant Ajello is futile and, thus, excused.

16 Defendant Kipp

17          252.   Defendant Kipp has served as a Company director since January
18 2023. As a director, Defendant Kipp was required to, among other things: (i) ensure

19 that the Company complied with its legal and regulatory obligations and

20 requirements; (ii) properly and accurately guide investors and analysts as to the true

21 financial condition of the Company at any given time; (iii) remain informed as to

22 how the Company conducted its operations, make reasonable inquiries, and take

23 steps to correct any improper conditions or practices; and (iv) ensure the Company

24 was operated in a diligent, honest, and prudent manner. Despite this, Defendant Kipp

25 failed to fulfil these duties by making and/or permitting the false and misleading

26 statements to be made, not correcting those statements, and by permitting or causing

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 1 the Company to fail to maintain adequate controls and wildfire prevention strategies

 2 and systems.

 3         253.     As a trusted Company director, Defendant Kipp conducted little, if
 4 any, oversight of the scheme to cause the Company to make false and misleading

 5 statements, consciously disregarded her duties to monitor such controls over

 6 reporting and engagement in the scheme, and consciously disregarded her duties to

 7 protect corporate assets.

 8         254.     During the Relevant Period, Defendant Kipp served as a member of
 9 HECO’s Audit Committee and had certain additional duties by virtue thereof. Such

10 additional duties include assisting the Board oversight of (i) the integrity of the

11 Company’s financial statements; (ii) the Company’s compliance with legal and

12 regulatory requirements; (iii) risk management and compliance systems and

13 structure; and (iv) the internal audit function. Despite this, Defendant Johns failed to

14 fulfil these additional duties by permitting the false and misleading statements to be

15 made, failing to ensure the Company’s compliance with legal and regulatory safety

16 requirements, and not identifying and addressing the risks to the Company and its

17 reputation as a result of the wrongdoing as alleged herein. Defendant Kipp

18 completely abandoned her directorial and Audit Committee duties and faces a

19 substantial likelihood of liability therefor.

20         255.     In addition, Defendant Kipp signed, and thus personally made the
21 false and misleading statements contained in the 2022 10-K. For this reason,

22 Defendant Kipp breached her fiduciary duties and faces and substantial likelihood of

23 liability therefor.

24         256.     Additionally, Defendant Kipp has previously served as President and
25 CEO of Puget Sound Energy, Inc., President and CEO of El Paso Electric Company,

26 and held roles within the Federal Energy Regulatory Commission, thus gaining

27 significant experience within the energy utility sector. As a result, Defendant Kipp

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 1 knew the hazards and risks inherent to the energy sector and thus posed by Hawaiian

 2 Electric. Despite this, Defendant Kipp failed to ensure that the Company maintained

 3 its T&D components properly, complied with minimum safety standards, engaged in

 4 wildfire prevention, and that the Company operated in a safe manner. As a result of

 5 her failures as alleged herein, despite her advanced knowledge and expertise,

 6 Defendant Kipp faces a substantial likelihood of liability.

 7        257.     In connection with her role as a Company director, Defendant Kipp
 8 receives substantial compensation. With such lucrative compensation, Defendant

 9 Kipp cannot reasonably and objectively consider a demand to sue the Board who

10 control her continued compensation, including herself.

11        258.     Defendant Kipp is neither independent nor disinterested. Any demand
12 upon Defendant Kipp is futile and, thus, excused.

13 Defendant Pakkala

14        259.     Defendant Pakkala has served as a Company director since 2020. As a
15 director, Defendant Pakkala was required to, among other things: (i) ensure that the

16 Company complied with its legal and regulatory obligations and requirements; (ii)

17 properly and accurately guide investors and analysts as to the true financial condition

18 of the Company at any given time; (iii) remain informed as to how the Company

19 conducted its operations, make reasonable inquiries, and take steps to correct any

20 improper conditions or practices; and (iv) ensure the Company was operated in a

21 diligent, honest, and prudent manner. Despite this, Defendant Pakkala failed to fulfil

22 these duties by making and/or permitting the false and misleading statements to be

23 made, not correcting those statements, and by permitting or causing the Company to

24 fail to maintain adequate controls and wildfire prevention strategies and systems.

25        260.     As a trusted Company director, Defendant Pakkala conducted little, if
26 any, oversight of the scheme to cause the Company to make false and misleading

27 statements, consciously disregarded her duties to monitor such controls over

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 1 reporting and engagement in the scheme, and consciously disregarded her duties to

 2 protect corporate assets.

 3         261.     During the Relevant Period, Defendant Pakkala served as a member
 4 of HECO’s Audit Committee and had certain additional duties by virtue thereof.

 5 Such additional duties include assisting the Board oversight of (i) the integrity of the

 6 Company’s financial statements; (ii) the Company’s compliance with legal and

 7 regulatory requirements; (iii) risk management and compliance systems and

 8 structure; and (iv) the internal audit function. Despite this, Defendant Pakkala failed

 9 to fulfil these additional duties by permitting the false and misleading statements to

10 be made, failing to ensure the Company’s compliance with legal and regulatory

11 safety requirements, and not identifying and addressing the risks to the Company and

12 its reputation as a result of the wrongdoing as alleged herein. Defendant Pakkala

13 completely abandoned her directorial and Audit Committee duties and faces a

14 substantial likelihood of liability therefor.

15         262.     In addition, Defendant Pakkala signed, and thus personally made the
16 false and misleading statements contained in the 2020, 2021, and 2022 10-K’s. For

17 this reason, Defendant Pakkala breached her fiduciary duties and faces and

18 substantial likelihood of liability therefor.

19         263.     In connection with her role as a Company director, Defendant Pakkala
20 receives substantial compensation. In 2022, Defendant Pakkala received a total

21 compensation package in excess of $122,000, as detailed supra. With such lucrative

22 compensation, Defendant Pakkala cannot reasonably and objectively consider a

23 demand to sue the Board who control her continued compensation, including herself.

24         264.     According to the Company’s Exhibit 99.1 attached to the 2023
25 Annual Report, entities in which Defendant Pakkala or her family members have an

26 ownership interest engaged in business with American Savings Bank – a wholly

27 owned subsidiary of the Company in which Defendants Seu, Dahl, and Otani serve

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 1 on the Board. As a result of this business engagement, Defendant Pakkala is not

 2 independent from the Company nor Defendants Seu, Dahl, and Otani and could not

 3 reasonably consider a demand to sue these directors.

 4        265.     Defendant Pakkala is neither independent nor disinterested. Any
 5 demand upon Defendant Pakkala is futile and, thus, excused.

 6 Defendant Taniguchi

 7        266.     Defendant Taniguchi has served as a Company director since 2021.
 8 As a director, Defendant Taniguchi was required to, among other things: (i) ensure

 9 that the Company complied with its legal and regulatory obligations and

10 requirements; (ii) properly and accurately guide investors and analysts as to the true

11 financial condition of the Company at any given time; (iii) remain informed as to

12 how the Company conducted its operations, make reasonable inquiries, and take

13 steps to correct any improper conditions or practices; and (iv) ensure the Company

14 was operated in a diligent, honest, and prudent manner.        Despite this, Defendant
15 Taniguchi failed to fulfil these duties by making and/or permitting the false and

16 misleading statements to be made, not correcting those statements, and by permitting

17 or causing the Company to fail to maintain adequate controls and wildfire prevention

18 strategies and systems.

19        267.     As a trusted Company director, Defendant Taniguchi conducted little,
20 if any, oversight of the scheme to cause the Company to make false and misleading

21 statements, consciously disregarded his duties to monitor such controls over

22 reporting and engagement in the scheme, and consciously disregarded his duties to

23 protect corporate assets.

24        268.     During the Relevant Period, Defendant Taniguchi served as a member
25 of HECO’s Audit Committee and had certain additional duties by virtue thereof.

26 Such additional duties include assisting the Board oversight of (i) the integrity of the

27 Company’s financial statements; (ii) the Company’s compliance with legal and

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 1 regulatory requirements; (iii) risk management and compliance systems and

 2 structure; and (iv) the internal audit function. Despite this, Defendant Taniguchi

 3 failed to fulfil these additional duties by permitting the false and misleading

 4 statements to be made, failing to ensure the Company’s compliance with legal and

 5 regulatory safety requirements, and not identifying and addressing the risks to the

 6 Company and its reputation as a result of the wrongdoing as alleged herein.

 7 Defendant Taniguchi completely abandoned his directorial and Audit Committee

 8 duties and faces a substantial likelihood of liability therefor.

 9         269.     In addition, Defendant Taniguchi signed, and thus personally made
10 the false and misleading statements contained in the 2021 and 2022 10-K’s. For this

11 reason, Defendant Taniguchi breached his fiduciary duties and faces and substantial

12 likelihood of liability therefor.

13         270.     In connection with his role as a Company director, Defendant
14 Taniguchi receives substantial compensation. In 2022, Defendant Taniguchi received

15 a total compensation package in excess of $122,000, as detailed supra. With such

16 lucrative compensation, Defendant Taniguchi cannot reasonably and objectively

17 consider a demand to sue the Board who control his continued compensation,

18 including himself.

19         271.     Defendant Taniguchi is neither independent nor disinterested. Any
20 demand upon Defendant Taniguchi is futile and, thus, excused.

21 Additional Reasons Demand is Futile

22         272.     The Company has been and will continue to be exposed to significant
23 losses due to the wrongdoing complained of herein, yet the Director Defendants have

24 not caused the Company to take action to recover for the Company the damages it

25 has suffered and will continue to suffer thereby.

26         273.     The Company, at all material times, had its Code of Conduct and
27 related corporate governance policies which required each of the Director Defendants

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 1 to maintain the highest standards of honesty and integrity, particularly in relation to

 2 accurate and truthful public disclosures. Yet, despite this Code of Conduct, and other

 3 relevant policies and committee charters, each of the Director Defendants failed to

 4 ensure that the Company upheld high standards of integrity, misrepresented facts to

 5 the investing public, and failed to report any concerns, or investigate any misconduct,

 6 let alone commence litigation against the Individual Defendants.

 7        274.     In violation of the Code of Conduct, the Director Defendants
 8 conducted little, if any, oversight of the Company’s engagement in the Individual

 9 Defendants’ scheme to cause the Company to issue materially false and misleading

10 statements to the public and to facilitate and disguise the Individual Defendants’

11 violations of law, including breaches of fiduciary duty, waste of corporate assets, and

12 unjust enrichment. In violation of the Code of Conduct, the Director Defendants

13 failed to comply with laws and regulations, failed to maintain the accuracy of

14 company records, public reports, and communications, and failed to uphold the

15 responsibilities related thereto. Thus, the Director Defendants face a substantial

16 likelihood of liability and demand is futile as to them.

17        275.     The Director Defendants received, and continue to receive, substantial
18 salaries, bonuses, payments, benefits, and other emoluments by virtue of their

19 membership on the Board. They have benefitted from the wrongs alleged herein and

20 have engaged therein to preserve their positions of control and the prerequisites

21 thereof and are incapable of exercising independent objective judgment in deciding

22 whether to bring this action.

23        276.     The Individual Defendants’ conduct described herein and summarized
24 above could not have been the product of legitimate business judgment as it was

25 based on bad faith and intentional, reckless, or disloyal misconduct. Thus, none of

26 the Director Defendants can claim exculpation from their violations of duty pursuant

27 to the Company’s charter (to the extent such a provision exists). As a majority of the

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 1 Director Defendants face a substantial likelihood of liability, they are self-interested

 2 in the transactions challenged herein and cannot be presumed to be capable of

 3 exercising independent and disinterested judgment about whether to pursue this

 4 action on behalf of the shareholders of the Company.            Accordingly, demand is
 5 excused as being futile.

 6        277.     Publicly traded companies, such as Hawaiian Electric, typically carry
 7 director and officer liability insurance from which the Company could potentially

 8 recover some or all of its losses. However, such insurance typically contains an

 9 “insured vs. insured” disclaimer that will foreclose a recovery from the insurers if the

10 Individual Defendants sue each other to recover the Company’s damages. If no such

11 insurance is carried, then the Director Defendants will not cause the Company to sue

12 the Individual Defendants named herein, since, if they did, they would face a large

13 uninsured individual liability. Accordingly, demand is futile in that event.

14        278.     Accordingly, each of the Director Defendants, and at least a majority
15 of them, cannot reasonably consider a demand with the requisite disinterestedness

16 and independence. Indeed, any demand upon the board is futile and, thus, excused.

17                             FIRST CAUSE OF ACTION
18         (Against The Individual Defendants for Breach of Fiduciary Duties)
19        279.     Plaintiff incorporates by reference and re-allege each and every
20 allegation contained above, as though fully set forth herein.

21        280.     The Individual Defendants owe the Company fiduciary obligations.
22 By reason of their fiduciary relationships, the Individual Defendants owed and owe

23 the Company the highest obligation of good faith, fair dealing, loyalty, and due care.

24        281.     The Individual Defendants violated and breached their fiduciary
25 duties of care, loyalty, reasonable inquiry, and good faith.

26        282.     The Individual Defendants engaged in a sustained and systematic
27 failure to properly exercise their fiduciary duties. Among other things, the Individual

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 1 Defendants breached their fiduciary duties of loyalty and good faith by allowing the

 2 Company to improperly misrepresent the Company’s publicly reported financials.

 3 These actions could not have been a good faith exercise of prudent business

 4 judgment to protect and promote the Company’s corporate interests.

 5        283.     As a direct and proximate result of the Individual Defendants’ failure
 6 to perform their fiduciary obligations, the Company has sustained significant

 7 damages. As a result of the misconduct alleged herein, the Individual Defendants are

 8 liable to the Company.

 9        284.     As a direct and proximate result of the Individual Defendants’ breach
10 of their fiduciary duties, the Company has suffered damage, not only monetarily, but

11 also to its corporate image and goodwill. Such damage includes, among other things,

12 costs associated with defending securities lawsuits, severe damage to the share price

13 of the Company, resulting in an increased cost of capital, the waste of corporate

14 assets, and reputational harm.

15                            SECOND CAUSE OF ACTION
16         (Against the Individual Defendants for Waste of Corporate Assets)
17        285.     Plaintiff incorporates by reference and realleges each and every
18 allegation contained above, as though fully set forth herein.

19        286.     The wrongful conduct alleged regarding the issuance of false and
20 misleading statements was continuous, connected, and on-going throughout the

21 Relevant Period.    It resulted in continuous, connected, and ongoing harm to the
22 Company.

23        287.     As a result of the misconduct described above, the Individual
24 Defendants wasted corporate assets by, inter alia: (i) paying excessive compensation

25 and bonuses to certain of its executive officers; (ii) awarding self-interested stock

26 options to certain officers and directors; and (iii) incurring potentially millions of

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 1 dollars of legal liability and/or legal costs to defend the Individual Defendants’

 2 unlawful actions.

 3         288.    As a result of the waste of corporate assets, the Individual Defendants
 4 are liable to the Company.

 5                              THIRD CAUSE OF ACTION
 6             (Against The Individual Defendants for Unjust Enrichment)
 7         289.    Plaintiff incorporates by reference and realleges each and every
 8 allegation set forth above, as though fully set forth herein.

 9         290.    By their wrongful acts, violations of law, and inaccurate and
10 untruthful information and/or omissions of material fact that they made and/or caused

11 to be made, the Individual Defendants were unjustly enriched by at least $50.4

12 million at the expense of, and to the detriment of, the Company, as detailed supra.

13         291.    The Individual Defendants either benefitted financially from the
14 improper conduct, or received bonuses, stock options, or similar compensation from

15 the Company that was tied to the performance of the Company or its stock price or

16 received compensation or other payments that were unjust in light of the Individual

17 Defendants’ bad faith conduct.

18         292.    Plaintiff, as a shareholder and representative of the Company seeks
19 restitution from Defendants and seek an order from this Court disgorging all profits,

20 including from insider transactions, the redemption of preferred stock, benefits, and

21 other    compensation,    including    any    performance-based   or   valuation-based
22 compensation, obtained by the Individual Defendants due to their wrongful conduct

23 and breach of their fiduciary and contractual duties.

24 ///

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 1                            FOURTH CAUSE OF ACTION
 2      (Against Defendants Lau, Seu, Hazelton, and Ito For Contribution Under
 3           Sections 10(b) and 21D of the Securities Exchange Act of 1934)
 4        293.     Plaintiff incorporates by reference and re-alleges each and every
 5 allegation set forth above, as though fully set forth herein.

 6        294.     The Company, along with Defendants Lau, Seu, Hazelton, and Ito, are
 7 named as defendants in the Securities Class Action, which asserts claims under the

 8 federal securities laws for violations of Sections 10(b) and 20(a) of the Exchange

 9 Act, and SEC Rule 10b-5 promulgated thereunder.

10        295.     The Securities Class Action alleges that the class members relied,
11 directly or indirectly, upon the false and misleading statements and omissions, as

12 alleged herein, in purchasing the Company securities. The Securities Class Action

13 further alleges that, as a direct and proximate result, the class members suffered

14 damages because the value of their investments were artificially inflated by the false

15 and misleading statements and omissions, they purchased such securities at the

16 artificially inflated prices, and the value of their investments fell when the truth was

17 eventually revealed, causing economic losses to the class members.

18        296.     If and when the Company is found liable in the Securities Class
19 Action for these violations of the federal securities laws, the Company’s liability will

20 be in whole or in part due to the Defendants Lau, Seu, Hazelton, and Ito’s willful

21 and/or reckless violations of their obligations as officers and/or directors of the

22 Company.

23        297.     Defendants Lau, Seu, Hazelton, and Ito, because of their positions of
24 control and authority as senior executive officers of the Company, were able to and

25 did, directly and/or indirectly, exercise control over the business and corporate affairs

26 of the Company, including the wrongful acts complained of herein and in the

27 Securities Class Action.

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 1        298.      Accordingly, Lau, Seu, Hazelton, and Ito are liable under 15 U.S.C. §
 2 78j(b), which creates a private right of action for contribution, and Section 21D of

 3 the Exchange Act, 15 U.S.C. § 78u-4(f), which governs the application of a private

 4 right of action for contribution arising out of violations of the Exchange Act.

 5        299.      As such, the Company is entitled to receive all appropriate
 6 contribution or indemnification from Defendants Lau, Seu, Hazelton, and Ito.

 7                              FIFTH CAUSE OF ACTION
 8                    (Against the Proxy Defendants for Violations of
 9                 Section 14(a) of the Securities Exchange Act of 1934)
10        300.      Plaintiff incorporates by reference and realleges each and every
11 allegation set forth above, as though fully set forth herein.

12        301.      Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides
13 that “[i]t shall be unlawful for any person, by use of the mails or by any means or

14 instrumentality of interstate commerce or of any facility of a national securities

15 exchange or otherwise, in contravention of such rules and regulations as the [SEC]

16 may prescribe as necessary or appropriate in the public interest or for the protection

17 of investors, to solicit or to permit the use of his name to solicit any proxy or consent

18 or authorization in respect of any security (other than an exempted security)

19 registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

20        302.      Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act,
21 provides that no proxy statement shall contain “any statement which, at the time and

22 in the light of the circumstances under which it is made, is false or misleading with

23 respect to any material fact, or which omits to state any material fact necessary in

24 order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

25        303.      Under the direction and watch of Defendants Connors, Dahl, Fargo,
26 Flores, Fowler, Kane, Kennedy, Otani, Kennedy, Powell, Zlotnicka, Russell,

27 Scilacci, and Seu (together, the “Proxy Defendants”), each of the 2019, 2020, 2021,

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 1 2022, and 2023 Proxy Statements (together, the “Proxy Statements”) failed to

 2 disclose that: (i) Hawaiian Electric’s wildfire prevention and safety protocols and

 3 procedures were inadequate to meet the challenges for which they were ostensibly

 4 designed; (ii) accordingly, despite knowing the degree of risk that wildfires posed to

 5 Maui, the Company’s inadequate safety protocols and procedures placed Maui at a

 6 heightened risk of devastating wildfires; (iii) the fact that the Company did not

 7 maintain its equipment and in fact had old, decaying equipment that went without

 8 necessary maintenance; and (iv) as a result, the Company’s public statements were

 9 materially false and misleading at all relevant times.

10        304.     The Proxy Defendants also caused the Proxy Statements to be false
11 and misleading with regard to executive compensation in that they purported to

12 employ “pay-for-performance” elements, while failing to disclose that the

13 Company’s financial prospects were misrepresented as a result of false and

14 misleading statements, causing the Company’s share price to be artificially inflated

15 and allowing the Individual Defendants to wrongfully benefit from the fraud alleged

16 herein.

17        305.     Moreover, the Proxy Statements were false and misleading when they
18 discussed the Company’s adherence to specific governance policies and procedures,

19 including the Code of Conduct, due to the Individual Defendants’ failures to abide by

20 them and their causing the Company to engage in improper accounting practices and

21 issue false and misleading statements and/or omissions of material fact.

22        306.     In the exercise of reasonable care, the Proxy Defendants should have
23 known that by misrepresenting or failing to disclose the foregoing material facts, the

24 statements contained in the Proxy Statements were materially false and misleading.

25 The misrepresentations and omissions were material to Plaintiff in voting on the

26 matters set forth for shareholder determination in the Proxy Statements, including but

27 not limited to, election of directors and approval of executive compensation.

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 1        307.     The misrepresentations and omissions set forth herein were material
 2 to shareholders in voting on the proposals in the Proxy Statements who would not

 3 have approved, inter alia: (i) the election of Defendants Connors, Dahl, Fargo,

 4 Flores, Fowler, Kane, Kennedy, Otani, Scilacci, Russell, Zlotnicka, Lau, and Seu to

 5 the Board; (ii) approval of the extension of the term of the Company’s Nonemployee

 6 Director stock plan and increase the shares available for issuance thereunder; and (iii)

 7 the compensation of the Company’s executive officers.

 8        308.     As a result of the respective Proxy Defendants causing the 2019
 9 Proxy Statement to be false and misleading, Company shareholders approved the

10 proposals set forth therein, including, inter alia: (i) the re-election of Defendants

11 Connors, Fargo, and Scilacci to the Board of Directors; (ii) approval of the extension

12 of the term of the Company’s Nonemployee Director stock plan and increase the

13 shares available for issuance thereunder; and (iii) approving executive compensation.

14        309.     As a result of the respective Proxy Defendants causing the 2020
15 Proxy Statement to be false and misleading, Company shareholders approved the

16 proposals set forth therein, including, inter alia: (i) the election of Defendants

17 Fowler, Russell, Zlotnicka, and Kane to the Board of Directors; and (ii) approving

18 executive compensation.

19        310.     As a result of the respective Proxy Defendants causing the 2021
20 Proxy Statement to be false and misleading, Company shareholders approved the

21 proposals set forth therein, including, inter alia: (i) the election of Defendants Dahl,

22 Kane, and Lau to the Board of Directors; and (ii) approving executive compensation.

23        311.     As a result of the respective Proxy Defendants causing the 2022
24 Proxy Statement to be false and misleading, Company shareholders approved the

25 proposals set forth therein, including, inter alia: (i) the election of Defendants

26 Connors, Dahl, Fargo, Flores, Kane, Scilacci, and Seu to the Board of Directors; and

27 (ii) approving executive compensation.

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 1        312.      As a result of the respective Proxy Defendants causing the 2023
 2 Proxy Statement to be false and misleading, Company shareholders approved the

 3 proposals set forth therein, including, inter alia: (i) the election of Defendants

 4 Connors, Dahl, Fargo, Flores, Fowler, Kane, Kennedy, Otani, Scilacci, and Seu to the

 5 Board of Directors; and (ii) approving executive compensation.

 6        313.      The Company was damaged as a result of the Proxy Defendants’
 7 material misrepresentations and omissions in the Proxy Statements.

 8                                REQUEST FOR RELIEF
 9        WHEREFORE, Plaintiff demands judgement as follows:
10        A.      Determining that this action is a proper derivative action maintainable
11 under law, and that demand is excused;

12        B.      Awarding, against all the Individual Defendants and in favor of the
13 Company, the damages sustained by the Company as a result of Defendants’

14 breaches of their fiduciary duties, waste of corporate assets, and unjust enrichment;

15        C.      Against Defendants Lau, Seu, Hazelton, and Ito and in favor of the
16 Company for contribution under Sections 10(b) and 21D of the Securities Exchange

17 Act of 1934;

18        D.      Against the Proxy Defendants for their violations of Section 14(a) of the
19 Securities Exchange Act of 1934;

20        E.      Directing the Company to take all necessary actions to reform and
21 improve its corporate governance and internal procedures, to comply with the

22 Company’s existing governance obligations and all applicable laws and to protect the

23 Company and its investors from a recurrence of the damaging events described

24 herein;

25        F.      Awarding to Plaintiff the costs and disbursements of the action,
26 including reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and

27 expenses; and

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 1       G.    Granting such other and further relief as the Court deems just and
 2 proper.

 3 Dated: December 26, 2023

 4
                                      Respectfully submitted,
 5
                                      WOLF HALDENSTEIN ADLER
 6                                    FREEMAN & HERZ LLP
 7
                                      By: ________________________________
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17                                    Counsel for Plaintiff
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